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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



                                                 Civil Action No. 3:19-cv-06601
 IN RE AMARIN CORPORATION PLC                    Hon. Brian R. Martinotti
 SECURITIES LITIGATION
                                                 CLASS ACTION




           LEAD PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT
                      AND DEMAND FOR JURY TRIAL



 GIBBS LAW GROUP LLP                        FARUQI & FARUQI, LLP
 Eric H. Gibbs (appearing pro hac vice)     Sherief Morsy
 David Stein (appearing pro hac vice)       Richard W. Gonnello (appearing pro hac vice)
 John A. Kehoe (pro hac vice forthcoming)   Megan M. Sullivan (appearing pro hac vice)
 505 14th Street, Suite 1110                685 Third Avenue, 26th Floor
 Oakland, CA 94612-1406                     New York, NY 10017
 Telephone: (510) 350-9700                  Telephone: 212-983-9330
 Facsimile: (510) 350-9701                  Facsimile: 212-983-9331
 ehg@classlawgroup.com                      smorsy@faruqilaw.com


 LITE DEPALMA GREENBERG, LLC
 Bruce D. Greenberg
 570 Broad Street, Suite 1201
 Newark, NJ 07102
 Telephone: (973) 623-3000
 Facsimile: (973) 623-0858
 bgreenberg@litedepalma.com
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                     TABLE OF DEFINED TERMS & ABBREVIATIONS

               TERM                                          DEFINITION

ADS                                  American Depository Share

Advisory Committee                   United States Food and Drug Administration’s
                                     Endocrinologic and Metabolic Drugs Advisory Committee

Advisory Committee Meeting           October 16, 2013 meeting of the United States Food and Drug
                                     Administration’s Endocrinologic and Metabolic Drugs
                                     Advisory Committee

AHA                                  American Heart Association

AHA Conference                       2018 Scientific Sessions of the American Heart Association
                                     held on November 10-12, 2018

Amarin                               Amarin Corporation, plc and its subsidiaries

Amarin Briefing Document or Amarin   Amarin Pharms. Ireland, Ltd., Briefing Document for the
Br. Doc.                             Endocrinologic and Metabolic Drugs Advisory Committee
                                     Meeting (2013)

Apo B                                Apolipoprotein B-100 molecule

CEO                                  Chief Executive Officer

Class Period                         September 24, 2018 through and including November 9, 2018

CMO                                  Chief Medical Officer

CRL                                  Complete Response Letter

CSO                                  Chief Scientific Officer

EPA                                  Eicosapentaenoic Acid

Exchange Act                         Securities Exchange Act of 1934, 15 U.S.C. § 78a et seq.

FDA                                  United States Food and Drug Administration

FDA Briefing Document or FDA Br.     Mary Dunne Roberts, MD, U.S. Food & Drug Admin.,
Doc.                                 Clinical Review: Endocrinologic and Metabolic Advisory
                                     Committee Meeting October 16, 2013 (2013)




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                     TABLE OF DEFINED TERMS & ABBREVIATIONS

                 TERM                                    DEFINITION

Forbes Article                    Matthew Herper, Amarin’s Fish-Oil-Derived Drug Shows
                                  Great Promise—With Big Caveats, Forbes Healthcare (Nov.
                                  10, 2018), https://www.forbes.com/sites/matthewherper/
                                  2018/11/10/fish-oil-derived-drug-shows-great-promise--with-
                                  big-caveats/#2e715e0f3291

Granowitz                         Craig Granowitz, MD, PhD, Amarin’s Chief Medical Officer
                                  since January 2016

HDL                               High Density Lipoprotein

HDL-C                             High Density Lipoprotein Cholesterol

HsCRP                             High Sensitivity C-Reactive Protein

Individual Defendants             John F. Thero, Steven Ketchum, Craig Granowitz, and Joseph
                                  S. Zakrzewski

Ketchum                           Steven Ketchum, PhD, Amarin’s President of Research and
                                  Development since February 2012 and CSO since January
                                  2016

LDL                               Low Density Lipoprotein

LDL-C                             Low Density Lipoprotein Cholesterol

MACE                              Major Adverse Cardiac Events

NDA                               New Drug Application

NEJM Article                      Deepak L. Bhatt, M.D., M.P.H., et al., Cardiovascular Risk
                                  Reduction with Icosapent Ethyl for Hypertriglyceridemia, 380
                                  N. Engl. J. Med. 11 (2018)

Officer Defendants                John F. Thero, Steven Ketchum, and Craig Granowitz

SEC                               United States Securities and Exchange Commission

Sklar Action                      Action filed by Steven Sklar captioned In re Amarin
                                  Corporation PLC, Securities Litigation, 3:13-cv-06663-FLW-
                                  TJB (D. N.J. November 1, 2013)




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                 TABLE OF DEFINED TERMS & ABBREVIATIONS

             TERM                                      DEFINITION

sNDA                             Supplemental New Drug Application

Thero                            John F. Thero, Amarin’s President since 2010 and CEO since
                                 January 2014

Zakrzewski                       Joseph S. Zakrzewski, Amarin’s President and CEO from
                                 November 2010 to December 2013, and a Director on
                                 Amarin’s board since January 2010




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                                    GLOSSARY


              TERM                                        DEFINITION

Apo B                            Apolipoprotein B-100 molecule, a protein that is involved in
                                 the metabolism of lipids and the main protein constituent of
                                 LDL.

Atherosclerosis                  The process of plaque buildup or “calcification” of the arteries.

Atherosclerotic Cardiovascular   Plaque buildup in the arteries, disrupting the flow of blood in
Disease                          the body.

Baseline                         The measurement of a condition in a patient before treatment is
                                 administered.

Biomarkers                       A broad subcategory of medical signs—that is, objective
                                 indications of medical state observed from outside the patient—
                                 which can be measured accurately and reproducibly.

Coronary Revascularization       Heart surgery, such as bypass surgery or placement of stents.

Cholesterol                      Lipids found in the blood that are used to build cells and
                                 hormones.

EPA                              Eicosapentaenoic Acid, an omega 3 fatty acid.

HDL                              High Density Lipoprotein, the lipoprotein which carries
                                 cholesterol from the tissues to be disposed of in the liver.

HDL-C                            High Density Lipoprotein Cholesterol, the cholesterol found in
                                 the HDL lipoprotein.

HsCRP                            High Sensitivity C-Reactive Protein, a protein released into the
                                 blood by the liver during inflammation, and thus a commonly
                                 used clinical marker of general and cardiac-related
                                 inflammation.

Hypertriglyceridemia             A condition diagnosed when blood triglyceride levels rise
                                 above a threshold value, such as the 90th or 95th percentile,
                                 depending upon the patient’s age and gender.

Icosapent Ethyl                  An ethyl ester of the omega-3 fatty acid Eicosapentaenoic acid,
                                 a/k/a Vascepa.




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                                    GLOSSARY

                TERM                                      DEFINITION

Indication                       The use of a drug to treat a specific disease or condition.

Ischemia                         The restriction of blood supply to the tissues of the body.

LDL                              Low Density Lipoprotein, the lipoprotein that carries the
                                 majority of the cholesterol in circulation in the blood.

LDL-C                            Low Density Lipoprotein Cholesterol, the cholesterol found in
                                 the LDL lipoprotein.

Lipids                           Fatty-like substance found in the blood.

Lipoproteins                     Soluble particles made up of lipids and proteins to carry lipids
                                 through the blood.

Mechanism of Action              The biochemical process through which a drug produces its
                                 effect.

Mixed Dyslipidemia               A condition diagnosed when a patient has abnormally high
                                 LDL-C levels combined with at least one other lipid
                                 abnormality.

Myocardial Infarction            Heart attack.

Myocardial Ischemia              The restriction of blood flow to the heart, preventing the heart
                                 muscle from receiving enough oxygen.

Phase 3 Trial                    Trial involving randomized and blind testing of a drug in
                                 several hundred to several thousand patients to provide
                                 additional safety and efficacy data to support approval of the
                                 drug by the FDA.

Primary Endpoint                 The main, pre-determined measure of a clinical trial to establish
                                 the effectiveness and/or safety features of a drug in order to
                                 support approval by the FDA.

Principal Investigator           A principal trial investigator is the physician responsible for
                                 supervising the conduct of a clinical trial in compliance with
                                 the current protocol, good clinical practices, and all applicable
                                 laws.




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                                    GLOSSARY

                TERM                                     DEFINITION

Secondary Endpoint               A secondary measure selected to demonstrate additional effects
                                 or benefits of a drug, analyzed after the primary endpoint.

Statins                          Chemicals which inhibit the primary enzyme responsible for
                                 synthesizing cholesterol, HMG-CoA reductase, and the
                                 standard of care for reducing LDL-C.

Triglycerides                    Lipids found in the blood that store unused calories.

Unstable Angina                  Poor blood flow through the arteries due to blood clots.




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                                      CHRONOLOGY

      DATE                                              EVENT

Jul. 2008         The Food and Drug Administration (“FDA”) meets with Amarin to discuss
                  Amarin’s plans to develop Vascepa (then “AMR101”) for the treatment of
                  hypertriglyceridemia. The FDA and Amarin agree upon a Phase 3 trial program
                  with three pivotal trials to test Vascepa: the MARINE, ANCHOR, and REDUCE-
                  IT trials. ¶36.

Dec. 2009         Patient enrollment begins for Amarin’s Phase 3 MARINE trial. ¶37.

Jan. 2010         Amarin initiates its Phase 3 ANCHOR trial. ¶42.

Nov. 29, 2010     Amarin announces that the MARINE trial has met its primary endpoints for
                  median reductions in triglyceride levels. ¶39.

Apr. 18, 2011     Amarin reports top-line results for the ANCHOR trial, stating that the primary
                  endpoint for the reduction of triglyceride levels was met. ¶43.

Sept. 2011        Amarin submits a New Drug Application (“NDA”) to the FDA requesting
                  approval to market and sell Vascepa for the MARINE indication, i.e., the
                  reduction of triglyceride levels for patients with very high triglycerides (>500
                  mg/dL). ¶40.

Sept. 2011        According to a class action complaint filed in 2014, a senior director of clinical
                  research and medical affairs at Amarin first expresses concern to key Amarin
                  employees, including then-CEO and current Chairman of the Board Joseph
                  Zakrzewski, that the mineral oil used in Amarin’s phase 3 trials was not inert.
                  ¶66.

Nov. 2011         Amarin initiates its third and largest Phase 3 REDUCE-IT trial. The trial is
                  intended to evaluate whether Vascepa, combined with statin therapy, will be
                  superior to statin therapy alone when used to reduce long-term cardiovascular
                  events in high-risk patients with mixed dyslipidemia. ¶44.

Jul. 26, 2012     Amarin announces that the FDA approved Vascepa for the MARINE indication.
                  ¶41.

Jan. 2013         Amarin begins marketing Vascepa under the MARINE indication. ¶41.

Feb. 21, 2013     Amarin files a supplemental NDA (“sNDA”) with the FDA for expanded approval
                  of Vascepa based upon the ANCHOR indication, i.e., treatment in combination
                  with a statin to reduce triglyceride, non-HDL-C, Apo B, LDL-C, TC, and VLDL-
                  C in adult patients with mixed dyslipidemia and coronary heart disease or a
                  coronary heart disease equivalent. ¶49.



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                                      CHRONOLOGY

      DATE                                               EVENT

Oct. 11, 2013     The FDA publishes a Briefing Document prior to the meeting of the
                  Endocrinologic and Metabolic Drugs Advisory Committee which provides
                  analysis of Amarin’s sNDA based upon the ANCHOR trial. The FDA Briefing
                  Document notes that the mineral oil placebo may not have been inert. ¶¶49-51.

Oct. 16, 2013     The FDA holds a meeting of the Endocrinologic and Metabolic Drugs Advisory
                  Committee to discuss approval of the expanded ANCHOR indication. Potential
                  problems with the placebo arm of the ANCHOR trial are discussed at the meeting.
                  ¶¶54-59.

Nov. 1, 2013      The Sklar securities class action case is filed in the United States District Court for
                  the District of New Jersey alleging violations of Sections 10(b) and 20(a) of the
                  Exchange Act and Rule 10b-5 in relation to Amarin’s statements surrounding the
                  ANCHOR trial and FDA approval prospects. ¶64.

Sept. 19, 2014    The Sklar action is amended to include allegations concerning Amarin’s use of
                  mineral oil as a placebo and its impact distorting trial results. Thero and Ketchum
                  are added as defendants. ¶65.

Apr. 27, 2015     The FDA provides a Complete Response Letter to Amarin denying approval of the
                  sNDA for the broader use of Vascepa based upon the results of the ANCHOR
                  trial. ¶67.

Mar. 2018         Amarin completes the last study visits for the Company’s REDUCE-IT trial. ¶69.

Sept. 12, 2018    Amarin announces that the REDUCE-IT trial results have been accepted for
                  presentation at the 2018 Scientific Sessions of American Heart Association
                  (“AHA”) on November 10, 2018 (the “AHA Conference”). ¶70.

Sept. 24, 2018    Class Period Begins – Amarin issues a press release announcing the REDUCE-IT
                  trial’s results, claiming that the study had met its primary endpoint and
                  demonstrated a 25% relative risk reduction for major cardiovascular events. ¶71.
                  Amarin executives reiterate the same purported results during a conference call,
                  ¶72, and during a CNBC appearance that same day. ¶74.

Oct. 3, 2018      Defendant Thero touts the REDUCE-IT trial’s 25% relative risk reduction results
                  at the Cantor Fitzgerald Global Healthcare Conference. ¶78.

Nov. 1, 2018      In a quarterly financial report signed by Thero and on Amarin’s Q3 2018
                  Conference Call, Defendant Thero again touts the REDUCE-IT trial’s 25%
                  relative risk reduction results. ¶¶79-82.




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                                      CHRONOLOGY

      DATE                                              EVENT

Nov. 9, 2018       Class Period Ends – the last trading day before Amarin presents more complete
                   results at the AHA Conference. ¶¶84-92, 168.

Nov. 10, 2018      At the AHA Conference and through a simultaneous publication in the New
                   England Journal of Medicine, more detailed REDUCE-IT trial data reveals that
                   the mineral oil used in the REDUCE-IT placebo arm may not have been inert and
                   that the mechanism of action responsible for the benefit seen in the Vascepa arm is
                   not known, thereby calling into question the true effectiveness of Vascepa. ¶¶83,
                   85-92.

Nov. 10, 2018      In the aftermath of the disclosure of Amarin’s more complete REDUCE-IT trial
                   results, news articles are published criticizing the results. For example, Matthew
                   Herper publishes the article Amarin’s Fish-Oil-Derived Drug Shows Great
                   Promise—With Big Caveats in Forbes. The article cites several cardiologists
                   expressing newfound criticism of the REDUCE-IT results, including concerns that
                   the placebo used in the trial was not inert and the mechanism by which Vascepa
                   functions remains unknown. ¶¶93-102.

Nov. 12-13, 2018   The Company’s shares decline by 27% from $21.05 to $15.38 per share over the
                   next two trading days. ¶105.




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        Plaintiffs Dan Kotecki and Gaetano Cecchini as Trustee of the Gaetano Cecchini Living

 Trust (together “Lead Plaintiffs” or “Plaintiffs”) bring claims arising under Sections 10(b) and

 20(a) of the Securities and Exchange Act of 1934, 15 U.S.C. § 78 et seq. (the “Exchange Act”),

 individually and on behalf of all persons and entities who purchased or otherwise acquired

 Amarin (“Amarin” or the “Company”) American Depository Shares (“ADS’s” or “shares”)

 between September 24, 2018, and November 9, 2018, inclusive (the “Class Period”), and who

 were damaged thereby. Plaintiffs’ allegations are based on personal knowledge as to themselves

 and their actions, and upon information and belief as to all other matters. Plaintiffs’ information

 and belief is based on, among other things, the investigation of their undersigned counsel

 (including the review of certain press releases, analyst reports, media reports, conference call

 transcripts, and filings with the United States Securities and Exchange Commission (“SEC”)).

 Plaintiffs’ investigation into the factual allegations contained herein is continuing, and many of

 the facts related to Plaintiffs’ allegations are known only by the Defendants named herein, or are

 exclusively within their custody or control. Plaintiffs believe that substantial additional

 evidentiary support will exist for the allegations set forth herein after a reasonable opportunity

 for discovery.

 I.     NATURE AND SUMMARY OF THE ACTION

        1.        Amarin is a pharmaceutical company traded on the NASDAQ Global Market

 under the ticker symbol AMRN. Since 2008, Amarin has been singularly focused on testing and

 marketing one drug: Vascepa® (a/k/a icosapent ethyl) (“Vascepa”), which is comprised of an

 omega-3 fatty acid derived from fish oil. The drug is intended to treat heart disease.

        2.        Over the past decade, Amarin has undertaken three trials to demonstrate

 Vascepa’s efficacy. The first two trials (known as the MARINE and ANCHOR trials) aimed to




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 demonstrate that Vascepa would lower patients’ triglyceride levels. The third trial (known as the

 REDUCE-IT trial) was the longest and by far the most expensive; it aimed to show Vascepa

 would reduce patients’ major adverse cardiac events.

        3.      The REDUCE-IT trial wrapped up in the summer of 2018. While the results

 showed some potentially positive signs for Vascepa (in the form of improved cardiac outcomes)

 there were two key aberrations in the data that raised serious questions. First, the placebo used

 in the trial—mineral oil—did not appear to be acting as a mere placebo. Instead, the people in

 the control arm of the trial who had ingested mineral oil experienced sizeable increases in their

 LDL-C cholesterol levels and other negative biomarkers. These increases revealed the mineral

 oil may have skewed the data on how much Vascepa had reduced cardiac risks. Second, the trial

 data could not explain how Vascepa was actually reducing negative cardiac events. While the

 drug was supposed to lower triglycerides, among other things, the trial showed no correlation

 between lowered triglycerides and reduced cardiac events, requiring speculation about Vascepa’s

 causal mechanism.

        4.      The importance of both issues for the scientific community, investors, and the

 public at large were well known to Amarin and its officers and directors. After all, the two

 preceding trials (MARINE and ANCHOR) had both been specifically designed to show that

 Vascepa worked to lower triglycerides; and various earlier trials had consistently failed to show

 that omega-3 mixtures (like that comprising Vascepa) could improve cardiac outcomes. Thus, a

 question mark as to how Vascepa was working (to the extent it was) entailed likely challenges in

 convincing physicians to prescribe the drug and could impact prospects for approval by the

 United States Food and Drug Administration (“FDA”). And Amarin had already encountered

 questions about the use of mineral oil as a placebo after the ANCHOR trial, where the FDA had




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 expressed concern that the oil was not inert and thus was skewing the trial results, which in turn

 led to Amarin’s share price plummeting and an earlier federal securities fraud lawsuit. Thus,

 Amarin and its officers and directors knew full well that data showing that the mineral oil may

 have skewed the REDUCE-IT trial results would be an important part of any discussion about

 the trial.

         5.     Amarin decided, however, to publicize the REDUCE-IT trial’s apparent success

 in showing improved cardiac outcomes while keeping both aberrations in the data a secret. The

 Company held a conference call during which the defendants boasted that the results

 “significantly exceeded the expectations of even the highest degree” and are “the single, most

 significant advance in preventative cardiovascular drug therapy since the advent of statin

 therapy.” Also during the conference call, they indicated they reviewed all of the data from the

 trial, but explained that they were not disclosing additional details until the presentation at the

 American Heart Association (“AHA”) conference and publication in a peer-reviewed journal in

 November. Amarin assured the market, however, that the full “[r]esults were supported by

 robust demonstrations of efficacy across multiple secondary endpoints[,]” and was an “overall

 robust study result.” Analysts and the market were thrilled with this announcement, driving

 Amarin’s share price up from a close of $2.99 per share on September 23, 2018, to $13.00 per

 share on September 25, 2018—an increase of 433%.

         6.     With Amarin’s shares inflated, several of Amarin’s top officers seized on the

 opportunity to sell an unprecedented number of shares. Amarin’s Chief Executive Officer

 (“CEO”), Chief Scientific Officer (“CSO”), Chairman of the Board, General Counsel, and Chief

 Financial Officer collectively sold approximately 3.5 million shares for total profits of

 approximately $35 million. Around the same time, Amarin continued touting the “remarkable”




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 risk reduction observed in the REDUCE-IT trial in conferences and SEC filings, while

 continuing to conceal the aberrations in the data.

           7.    When the two problems with the REDUCE-IT trial data were finally disclosed on

 November 10, 2018, at the AHA conference and in the New England Journal of Medicine,

 preeminent heart experts immediately voiced concern over the data and its implications. Articles

 published on November 10th and 11th explained “that it’s possible that the placebo was[n’t]

 really a ‘placebo,’” that the placebo may have helped overstate Vascepa’s “true effect,” and that

 the unexplained causal mechanism could mean the trial results were “a one-off chance finding.”

 As a result, Amarin’s stock price shot down over the course of two days, falling from a close of

 $21.05 per share on Friday November 9, 2018, to a close of $15.38 per share on Tuesday

 November 13, 2018, a drop of $5.67 per share or 27%, on unusually high volume. Before the

 stock price had bottomed out, though, Amarin’s executives had already offloaded their shares at

 a handsome profit, leaving ordinary investors like Plaintiffs and Class members to bear the

 losses.

           8.    Defendants’ fraudulent acts and omissions, which led to the inflation and

 precipitous decline in the market value of the Company’s stock when the truth was revealed,

 caused Plaintiffs and other Class members to suffer significant damages, which this action seeks

 to recover.

 II.       JURISDICTION AND VENUE

           9.    This Court has jurisdiction and venue over the subject matter of this action

 pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa and 28 U.S.C. § 1331.

           10.   Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15

 U.S.C. § 78aa, and 28 U.S.C. § 1391(b), (c), and (d). Many of the acts, omissions, and

 transactions at issue, including the preparation and dissemination of materially false and


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 misleading statements, occurred in this District. At all relevant times, Amarin’s U.S.

 headquarters were located in this District.

        11.     In connection with the acts alleged in this Complaint, Defendants used the means

 and instrumentalities of interstate commerce, including the United States mail, interstate

 telephone communications, and the facilities of the national securities exchange.

 III.   THE PARTIES

        12.     As set forth in a certification previously filed with the Court, Court-appointed

 Lead Plaintiff Dan Kotecki purchased Amarin ADS’s during the Class Period and was damaged

 thereby.

        13.     Court-appointed Lead Plaintiff Gaetano Cecchini as Trustee of the Gaetano

 Cecchini Living Trust purchased Amarin ADS’s during the Class Period and was damaged

 thereby, as set forth in the certification that he previously filed with the Court.

        14.     Defendant Amarin is a biotechnology company with its headquarters located in

 Dublin, Ireland and its U.S. office located at 1430 Route 206, Bedminster, New Jersey 07921.

 Amarin’s ADS’s are traded under the symbol AMRN on the NASDAQ Global Market, which is

 an efficient market.

        15.     Defendant John F. Thero was the Company’s Chief Financial Officer from

 November 5, 2009 through December 2013, and has been President since November 2010. On

 January 1, 2014, Thero was promoted to the position of CEO and director on Amarin’s Board of

 Directors. During the Class Period and before Amarin’s ADS’s declined on November 12-13,

 2018, Thero sold 622,368 shares for profits of approximately $11.27 million.

        16.     Defendant Steven Ketchum, PhD was, at all relevant times, President of Research

 and Development, Senior Vice President, and CSO of the Company. During the Class Period,

 Ketchum sold 1,212,887 Amarin shares for insider trading profits of $8,368,474.65.


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        17.     Defendant Craig B. Granowitz, MD, PhD, was appointed as Amarin’s Senior

 Vice President and Chief Medical Officer (“CMO”) in January 2016.

        18.     Defendant Joseph S. Zakrzewski was at all relevant times a member of the

 Company’s Board of Directors. Zakrzewski was CEO of the Company, and Chairman of its

 Board of Directors from November 2010 to December 2013. During the Class Period,

 Zakrzewski sold 500,000 Amarin shares for insider trading profits of $3.6 million.

        19.     Defendants Thero, Ketchum, and Granowitz are collectively referred to herein as

 the “Officer Defendants,” and together with the addition of Zakrzewski are collectively referred

 to as the “Individual Defendants.”

        20.     During the Class Period, the Individual Defendants, as senior executive officers

 and directors of Amarin, were privy to confidential and proprietary information concerning

 Amarin, its operations, product, finances, financial condition, and present and future business

 prospects. The Individual Defendants also had access to material adverse non-public

 information concerning Amarin, its singular product, Vascepa, and its flagship REDUCE-IT

 trial, as detailed below. The Individual Defendants had access to non-public information about

 Amarin’s business, products, finances, markets and present and future business prospects via

 access to internal corporate documents, conversations and connections with other corporate

 officers and employees, attendance at management and board of directors meetings and

 committees thereof, and via reports and other information provided to them in connection

 therewith. Because of their possession of such information, the Officer Defendants knew or

 recklessly disregarded that the adverse facts contradicting their misrepresentations and relating to

 their omissions had not been disclosed to, and were being concealed from, the investing public.




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        21.     The Individual Defendants are liable as direct participants in, and as co-

 conspirators with respect to, the wrongs complained of herein. In addition, the Individual

 Defendants, by reason of their status as senior executive officers and directors were “controlling

 persons” within the meaning of §20(a) of the Exchange Act and had the power and influence to

 cause the Company to engage in the unlawful conduct complained of herein. Because of their

 positions of control, the Individual Defendants were able to and did control the conduct of

 Amarin’s business.

        22.     The Individual Defendants, because of their positions with the Company,

 controlled or possessed the authority to control the contents of its reports, press releases, and

 presentations to securities analysts and through them, to the investing public. Thus, the

 Individual Defendants were authorized agents of the Company, having permission and authority

 to speak on behalf of Amarin. The Individual Defendants were provided with copies of the

 Company’s statements alleged herein to be misleading, prior to or shortly after their issuance and

 had the ability and opportunity to prevent their issuance or cause them to be corrected. Thus, the

 Individual Defendants had the opportunity to commit the fraudulent acts alleged herein.

        23.     As senior executive officers and directors and as controlling persons of a publicly

 traded company whose ADS’s were and are registered with the SEC pursuant to the Exchange

 Act, and were traded on the NASDAQ Global Market, and governed by the federal securities

 laws, the Individual Defendants had a duty to promptly disseminate accurate and truthful

 information about Amarin’s financial condition and performance, growth operations, financial

 statements, business, product, markets, management, earnings, and present and future business

 prospects, to correct any previously issued statements that were or had become materially

 misleading or untrue, so that the market price of Amarin’s shares would be based upon truthful




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 and accurate information. The Officer Defendants’ misrepresentations and omissions during the

 Class Period violated these specific requirements and obligations.

        24.     The Officer Defendants are liable as participants in a course of conduct that

 operated as a fraud on the purchasers of Amarin’s publicly traded ADS’s by disseminating

 materially false and misleading statements and concealing material adverse facts. The scheme:

 (i) deceived the investing public regarding Amarin’s business, product, operations, management,

 and the intrinsic value of Amarin’s shares; (ii) enabled Defendants Thero, Ketchum, and

 Zakrzewski, as well as non-party executives Joseph T. Kennedy and Michael Wayne Kalb, to

 sell over 3.47 million of their personally held Amarin shares at artificially inflated prices and

 thereby reap over $34.9 million in profits; and (iii) caused Plaintiffs and members of the Class to

 purchase Amarin shares at artificially inflated prices.

 IV.    FACTUAL BACKGROUND

        A.      Cardiovascular Disease

        25.     Atherosclerotic cardiovascular disease (i.e., plaque buildup in the arteries) and its

 clinical manifestations, such as myocardial infarction (a/k/a heart attack) and ischemic stroke, are

 the leading cause of morbidity and mortality throughout the world. Brian A. Ference, et al.,

 Low-density lipoproteins cause atherosclerotic cardiovascular disease. 1. Evidence from genetic,

 epidemiologic, and clinical studies, 38 Euro. Heart J. 2459 (2017).

        26.     Atherosclerotic cardiovascular disease is caused, in part, by excessive levels of

 certain lipids and lipoproteins in the blood. See id. Two types of lipids (i.e., fat-like substances)

 found in the blood are cholesterol and triglycerides. Triglycerides: Why Do They Matter?, Mayo

 Clinic (Sept. 13, 2018), https://www.mayoclinic.org/diseases-conditions/high-blood-

 cholesterol/in-depth/triglycerides/art-20048186. Because these two lipids are insoluble in water,

 they must join up with proteins, forming lipoproteins, in order to be transported through the


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 blood. Kenneth R Feingold, MD & Carl Grunfeld, MD, PhD, Introduction to Lipids and

 Lipoproteins, Endotext.com (2018).

        27.     There are seven classes of lipoproteins, one of the most important being low-

 density lipoproteins (“LDL”). See id. LDLs carry the majority of the cholesterol that is in

 circulation in the blood, known as “LDL-Cholesterol” or “LDL-C.”1 See id.

        28.     Apolipoproteins are proteins that bind lipids to form lipoproteins. The Free

 Dictionary, Medical Dictionary, https://medical-dictionary.thefreedictionary.com/apolipoprotein

 (last visited July 21, 2019). Apolipoproteins are thus crucial to the formation and metabolism of

 lipoproteins in the blood. Kenneth R Feingold, MD & Carl Grunfeld, MD, PhD, Introduction to

 Lipids and Lipoproteins, Endotext.com (2018). Each LDL particle contains one apolipoprotein

 B-100 molecule (“Apo B”). See id. Below is a computer-generated image of LDL-C:




 See Aridaya and Alan’s Cholesterol Fun, https://cholesterolfun.weebly.com/ldl--hdl-tab.html

 (last visited June 26, 2019).




 1
        High-density lipoprotein (“HDL”) is another important lipoprotein which carries
 cholesterol known as HDL-Cholesterol or “HDL-C” away from the peripheral tissues in the
 body and delivers it to the liver, thereby “disposing of” the cholesterol in the body. See id.

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        29.     Atherosclerosis is the process of plaque buildup or “calcification” of the arteries.

 If LDL-C particles in the blood are increased, usually as a result of a high fat diet, diabetes, or

 genetic factors, when they leave the blood and enter into the lining of the artery, they begin to

 accumulate in the lining. See William Insull Jr., MD, The Pathology of Atherosclerosis: Plaque

 Development and Plaque Responses to Medical Treatment, 122 Am. J. of Med. S3 (2009). As

 the LDL-C particles accumulate in the lining of the artery, they activate an inflammatory

 reaction whereby white blood cells begin to attach to the lining. See id. When the white blood

 cells enter into the lining of the artery, they transform into foam cells and attract lipids to form

 fatty deposits. See id. This increasing inflammation and accumulation of lipids is referred to as

 the “plaque” buildup in the arteries. See id. Calcium deposits also develop in the inflamed wall

 of the arteries which leads to a hardening of the tissue. See id. Below is an image depicting the

 buildup of plaque in the arteries:




                                                 10
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 See Reza Hajhosseiny, et al., Molecular and Nonmolecular Magnetic Resonance Coronary and

 Carotid Imaging, 39 Arterioscler. Thromb. Vasc. Biol. 569 (2019).

        30.     As a person ages and plaque buildup continues, the arterial wall may become so

 enlarged that blood flow becomes sufficiently restricted to cause a heart attack or stroke. See

 William Insull Jr., MD, The Pathology of Atherosclerosis: Plaque Development and Plaque

 Responses to Medical Treatment, 122 Am. J. of Med. S3 (2009). In other cases, the arterial wall

 may become thinned and weakened, causing a rupture. See id. Such ruptures result in the

 formation of a blood clot in the artery which restricts blood flow and may result in a heart attack

 or stroke. See id.

        31.     Through a series of tests in the 1970’s, researchers discovered several chemicals,

 known as “statins,” which inhibit the primary enzyme responsible for synthesizing cholesterol,

 HMG-CoA reductase. See David Pineles, MD, On The History of Statins, Clinical Correlations

 (Jan. 11, 2019), https://www.clinicalcorrelations.org/2019/01/11/on-the-history-of-statins/.

 Human trials of these statins showed that inhibition of HMG-CoA reductase activates the LDL

 receptors in the liver,2 thereby lowering the concentration of LDL-C in the blood. See id. In the

 years that followed, pharmaceutical companies took note and began developing statins as a

 potential treatment for atherosclerotic cardiovascular disease. See id. Today, statin therapy,

 including, Lipitor® (atorvastatin), Lescol® (fluvastatin), Mevacor® (lovastatin), Altoprev®

 (lovastatin extended-release), Livalo® (pitavastatin), Pravachol® (pravastatin), Crestor®




 2
         Two important functions of the liver are to filter and detoxify blood and absorb fat in the
 body. See Tim Newman, What does the liver do?, Medical News Today (Mar. 2, 2018),
 https://www.medicalnewstoday.com/articles/305075.php.




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 (rosuvastatin), and Zocor® (simvastatin), are the first-line standard-of-care3 for treating

 atherosclerotic cardiovascular disease by lowering LDL-C levels. See Statins, U.S. Food & Drug

 Administration (Dec. 16, 2014) https://www.fda.gov/drugs/information-drug-class/statins; see

 also Mary Dunne Roberts, MD, U.S. Food & Drug Admin., Clinical Review: Endocrinologic

 and Metabolic Advisory Committee Meeting October 16, 2013 10 (2013) (“FDA Briefing

 Document” or “FDA Br. Doc.”) (prepared in connection with Amarin’s application for the

 ANCHOR indication, see ¶49).

        32.     While statins are currently the standard of care for lowering LDL-C levels, many

 patients retain a high cardiovascular risk despite achieving their recommended LDL-C targets

 while taking statins. Based on a series of large statin trials, optimal statin treatment reduces

 cardiovascular events by 30-40% over five years, meaning that many patients treated to their

 LDL-C goal still have residual risks. See Amarin Pharms. Ireland, Ltd., Briefing Document for

 the Endocrinologic and Metabolic Drugs Advisory Committee Meeting 9 (2013) (“Amarin

 Briefing Document” or “Amarin Br. Doc.”) (prepared in connection with Amarin’s application

 for the ANCHOR indication, see ¶52).

        B.      Vascepa®

        33.     Amarin has been developing Icosapent ethyl, a/k/a Vascepa®, to address the

 remaining 60-70% risk of cardiovascular events which are not addressed by statin treatment. See

 id. at 23-24. Vascepa is made up of a single omega-3 fatty acid: eicosapentaenoic acid (“EPA”)

 derived from fish oil. FDA Br. Doc. at 1. According to Amarin, EPA has been associated with




 3
        First-line standard-of-care therapy is a term used to describe the therapy that is
 considered the best treatment for a disease or condition. See NCI Dictionary of Cancer Terms,
 National Cancer Institute, https://www.cancer.gov/publications/dictionaries/cancer-
 terms/def/first-line-therapy (last visited July 15, 2019).

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 cardiovascular benefits including reducing triglyceride levels, inhibiting platelet aggregation,

 stabilizing plaque, causing anti-inflammatory effects, and improving blood flow. See id.

        34.     Amarin has tested Vascepa’s ability to treat two specific types of lipid disorders

 called hypertriglyceridemia and mixed dyslipidemia. See id. at 3. Hypertriglyceridemia is a

 condition diagnosed when blood triglyceride levels rise above a threshold value, such as the 90th

 or 95th percentile depending upon factors such as age and gender. See Amanda Brahm & Robert

 A. Hegele, Hypertriglyceridemia, 5 Nutrients 981 (2013). The two categories of

 hypertriglyceridemia are moderate hypertriglyceridemia (blood triglyceride levels between 175-

 499 mg/dL of blood plasma) and severe hypertriglyceridemia (blood triglyceride levels ≥ 500

 mg/dL of blood plasma). See Scott M. Grundy MD, PhD, FAHA, et al., A Report of the

 American College of Cardiology/American Heart Association Task Force on Clinical Practice

 Guidelines, 73 J. of Am. Coll. of Cardiology 285 (2018). Hypertriglyceridemia typically results

 from a combination of genetic factors and other causes of overproduction or impaired clearance

 of triglycerides, such as obesity, physical inactivity, excessive alcohol intake, metabolic

 syndrome, type 2 diabetes mellitus, and certain medications. See Lars Berglund et al.,

 Evaluation and Treatment of Hypertriglyceridemia: An Endocrine Society Clinical Practice

 Guideline, 97 J. of Clinical Endocrinology & Metabolism 2969 (2012). Severe and moderate

 hypertriglyceridemia increases a person’s risk for cardiovascular disease. Id. It is estimated that

 more than 10 million people in the United States have been diagnosed with hypertriglyceridemia.

 Amarin Corp. plc, Report of Foreign Private Issuer (Form 6-K) (July 22, 2008).

        35.     Mixed dyslipidemia is defined as the presence of abnormally high LDL-C levels

 combined with at least one other lipid abnormality, such as high triglyceride levels. FDA Br.

 Doc. at 6. The primary causes of mixed dyslipidemia are gene mutations which result in either




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 overproduction or defective clearance of triglycerides and LDL-C from the blood, or an

 underproduction or excessive clearance of HDL-C. Anne Carol Goldberg, Dyslipidemia, Merck

 Manuals Professional Version (Mar. 2018), https://www.merckmanuals.com/professional/

 endocrine-and-metabolic-disorders/lipid-disorders/dyslipidemia. The secondary causes of mixed

 dyslipidemia are excessive alcohol or fat intake, type 2 diabetes mellitus, chronic kidney disease,

 hypothyroidism, liver diseases, and certain medications. See id. If left untreated, mixed

 dyslipidemia can lead to cardiovascular disease. See id.

         C.      Amarin Begins Three Phase 3 Trials of Vascepa

         36.     In July 2008, Amarin senior officers met with the FDA for the purpose of

 discussing the Company’s plans to develop Vascepa4 for the treatment of hypertriglyceridemia

 and mixed dyslipidemia. Amarin Corp. plc, Report of Foreign Private Issuer (Form 6-K) (July

 22, 2008). The Company and the FDA agreed upon a Phase 35 trial program with three pivotal

 trials to test the drug in patients with these disorders. See id.

                 1.      The MARINE Trial

         37.     Patient enrollment for the first Phase 3 trial, the MARINE trial, began in

 December 2009. See Amarin Corp. plc, Annual Report (Form 10-K) at 7 (Feb. 29, 2012). The



 4
         The drug was then known as “AMR 101” but is referred to herein as Vascepa for
 consistency’s sake.
 5
         Clinical testing of a drug is broken down into four phases based upon the size and
 purpose of the trials. The Phase 3 trial stage involves randomized and blind testing in several
 hundred to several thousand patients. Overview of Clinical Trials, Center Watch,
 https://www.centerwatch.com/clinical-trials/overview.aspx/ (last visited July 15, 2018). This
 large-scale testing, which can last several years, provides the pharmaceutical company and the
 FDA with a more thorough understanding of the effectiveness of the drug and the range of
 possible adverse reactions. Id. Once Phase 3 is complete, a pharmaceutical company can
 request FDA approval for marketing the drug. Id.




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 MARINE trial was a placebo-controlled, randomized, double-blind, 12-week study designed to

 test Vascepa in patients who have severe hypertriglyceridemia, with triglyceride levels > 500

 mg/dL. See Amarin Corp. plc, Annual Report (Form 10-K) at 7 (Feb. 29, 2012). Patients were

 randomized into three treatment arms for treatment with Vascepa at 4 grams/day, Vascepa at 2

 grams/day, or placebo. See id. The primary endpoint6 of the MARINE trial was the percentage

 change in triglyceride levels from baseline7 compared to placebo after 12 weeks of treatment.

 See id. Both Vascepa and the placebo were packaged into capsules, with the placebo capsules

 being filled with mineral oil, also known as liquid paraffin, ostensibly because the oil looks

 similar to EPA. See Amarin Br. Doc. at 15.

        38.     At the time, Amarin estimated that in the United States approximately 4 million

 people had been diagnosed with severe hypertriglyceridemia. See Amarin Corp. plc, Current

 Report (Form 8-K) (July 27, 2012).

        39.     On November 29, 2010, Amarin announced that the MARINE trial had met its

 primary endpoint with median reductions in triglyceride levels of 33% compared to placebo for 4

 grams of Vascepa per day and 20% compared to placebo for 2 grams of Vascepa per day.

 Amarin Corp. plc, Report of Foreign Private Issuer (Form 6-K) (November 29, 2010).



 6
         A “primary endpoint” is the main, pre-determined measure of the trial to establish the
 effectiveness and/or safety features of a drug in order to support approval by the FDA. A
 “secondary endpoint” is a measure selected to demonstrate additional effects or benefits of a
 drug. See Peter R. Nelson, Primary and Secondary Endpoints, in Clinical Trials Design in
 Operative and Non Operative Invasive Procedures 11 (Kamal M.F. Itani & Domenic J. Reda
 eds., 2017).
 7
         In clinical trials, “baseline” means the measurement of a condition in a patient before
 treatment is administered. See NCI Dictionary of Cancer Terms, National Cancer Institute,
 https://www.cancer.gov/publications/dictionaries/cancer-terms/def/baseline (last visited July 8,
 2019).




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        40.     In September 2011, Amarin submitted a New Drug Application (“NDA”) to the

 FDA requesting approval to market and sell Vascepa for the indication8 studied in the MARINE

 trial, i.e. treatment with Vascepa to reducte triglyceride levels for patients with severe

 hypertriglyceridemia (triglycerides > 500 mg/dL). Amarin Corp. plc, Current Report (Form 8-K)

 (November 8, 2011). The NDA included supportive safety and efficacy data gathered from the

 MARINE trial as well as the subsequent ANCHOR trial (discussed below). Id.

        41.     On July 26, 2012, Amarin announced that the FDA had approved Vascepa

 capsules as an adjunct to diet to reduce triglyceride levels in adult patients with severe

 hypertriglyceridemia (triglycerides > 500 mg/dL) based on the positive MARINE trial results.

 Amarin Corp. plc, Current Report (Form 8-K) (July 27, 2012). Thereafter, in January 2013,

 Amarin began selling and marketing Vascepa by prescription only based on the FDA-approved

 MARINE indication for patients with severe hypertriglyceridemia (triglycerides ≥ 500 mg/dL).

 Amarin Corp. plc, Quarterly Report (Form 10-Q) at 24 (May 1, 2019).

                2.      The ANCHOR Trial

        42.     Amarin initiated its second pivotal Phase 3 clinical trial of Vascepa, the

 ANCHOR trial, in January 2010. Amarin Corp. plc, Annual Report (Form 10-K) at 9 (Feb. 27,

 2014). The purpose of the ANCHOR trial was to test Vascepa’s effectiveness in reducing

 triglycerides without raising LDL-C levels in a population with high, but not very high

 triglycerides, who were already taking statins. See Press Release, Amarin Corp. plc, Amarin’s

 AMR101 Phase 3 ANCHOR Trial Meets all Primary and Secondary Endpoints with Statistically

 Significant Reductions in Triglycerides at Both 4 Gram and 2 Gram Doses and Statistically


 8
         In medical terminology, an “indication” for a drug refers to the use of that drug to treat a
 particular disease or condition. Jay Marks, M.D., Indications for Drugs (uses), Approved vs.
 Non-approved, MedicineNet (June 13, 2018),
 https://www.medicinenet.com/indications_for_drugs__approved_vs_non-approved/views.htm.

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 Significant Decrease in LDL-C (Apr. 18, 2011). The ANCHOR trial was a placebo-controlled,

 randomized, double-blind, 12-week trial in patients who have mixed dyslipidemia and, despite

 being on statin treatment to achieve controlled LDL-C levels between > 40 mg/dL and < 115

 mg/dL, still have high triglyceride levels between 185 and < 500 mg/dL. Amarin Br. Doc. at 13.

 702 patients enrolled in the trial and they were randomized into three arms for treatment with

 Vascepa at 4 grams/day, Vascepa at 2 grams/day, or placebo. See id. All patients took statins

 during the ANCHOR trial, and the placebo used was the same mineral oil used in the MARINE

 trial. Amarin Br. Doc. at 14-15. The primary endpoint of the trial was the percentage change in

 triglyceride levels from baseline compared to placebo after 12 weeks of treatment. Amarin Corp.

 plc, Annual Report (Form 10-K) at 9 (Feb. 27, 2014).

        43.     On April 18, 2011, Amarin reported top-line results from the ANCHOR trial.

 Amarin Corp. plc, Current Report (Form 8-K) (Apr. 18, 2011). The ANCHOR trial met its

 primary endpoint with statistically significant results. See id. Specifically, the results showed

 median reductions in triglyceride levels of 21.5% compared to placebo for 4 grams of Vascepa

 per day and 10.1% compared to placebo for 2 grams of Vascepa per day. See id.

                3.      The REDUCE-IT Trial

        44.     Several months later, on November 28, 2011, Amarin initiated its third and largest

 Phase 3 trial of Vascepa, the REDUCE-IT trial. See Deepak L. Bhatt, M.D., M.P.H., et al.,

 Cardiovascular Risk Reduction with Icosapent Ethyl for Hypertriglyceridemia, 380 N. Engl. J.

 Med. 11, 12 (2018) (“NEJM Article”). The purpose of the trial was to evaluate whether

 Vascepa, combined with statin therapy, is superior to statin therapy alone, when used as a

 prevention in reducing long-term cardiovascular events in high-risk patients with mixed

 dyslipidemia. Id. The REDUCE-IT trial was a randomized, double-blind, placebo-controlled

 trial that enrolled patients who had mixed dyslipidemia, with LDL-C levels controlled to


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 between 41-100 mg/dL by statin therapy and high triglyceride levels between 150-499 mg/dL,

 along with either established cardiovascular disease or diabetes mellitus and at least one other

 cardiovascular risk factor. Id. 8,179 patients were enrolled in the trial, and they were

 randomized into two arms for treatment with one arm receiving Vascepa at 4 grams/day and the

 other arm receiving the placebo. Id. The trial used the same mineral oil placebo that was used in

 the MARINE and ANCHOR trials. See Amarin Br. Doc. at 15.

          45.   Patients were followed in the REDUCE-IT trial for a median of four years.

 NEJM Article at 13. Unlike the MARINE and ANCHOR trials where the primary endpoint was

 the reduction in triglycerides, the primary efficacy endpoint of the REDUCE-IT trial was a

 composite of the first occurrence of a “Major Adverse Cardiac Event” or “MACE,” including

 cardiovascular death, nonfatal myocardial infarction (a/k/a nonfatal heart attack), nonfatal stroke,

 coronary revascularization (i.e., heart surgery such as stent placement or bypass surgery), or

 unstable angina (i.e., poor blood flow through the arteries due to blood clots). NEJM Article at

 13. The endpoint was measured in a time-to-event analysis, meaning that the trial studied the

 time it took for a patient to experience a primary endpoint MACE event. Id. The trial also

 included several secondary endpoints, including a key secondary endpoint which was a

 composite of the first occurrence of cardiovascular death, nonfatal myocardial infarction, or

 nonfatal stroke in a time-to-event analysis. Id. Due to the size and the length of the REDUCE-

 IT trial, Amarin established an independent data monitoring committee to conduct safety and

 interim analyses. See Amarin Corp. plc, Clinical Study Protocol, Amendment #1, 44 (May 16,

 2013).

          46.   The proposed indication for the REDUCE-IT trial was treatment with Vascepa as

 an add-on to statin therapy to reduce the risk of cardiovascular events in patients with clinical




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 cardiovascular disease or with multiple risk factors for cardiovascular disease. Amarin Corp.

 plc, Clinical Study Protocol, Amendment #2, 3 (July 8, 2016). In contrast to the potential patient

 population of the MARINE indication of 4 million people (¶38), when the REDUCE-IT trial was

 initiated, Amarin estimated that the indication could address a patient population of more than 70

 million in the United States alone. Press Release, Amarin Corp., plc, Amarin Commences 2012

 with Letter to Shareholders (Jan. 3, 2012).

        D.      The FDA Rejects Expanded Approval of Vascepa Based on the ANCHOR
                Trial

        47.     While the ANCHOR trial had met its primary endpoint, comparisons between the

 treatment arms and the placebo arm for several lipid and lipoprotein biomarkers9 indicated that

 the placebo arm was performing abnormally for patients on cholesterol-lowering statins because

 key biomarker levels were increasing in the placebo arm instead of remaining relatively constant

 from baseline. See FDA Br. Doc. at 53. For example, a comparison of the LDL-C levels

 between the three arms shows that patients in the Vascepa 4 grams/day arm experienced a 1.5%

 increase in LDL-C from baseline, and patients in the Vascepa 2 grams/day arm experienced a

 2.4% increase from baseline; however, patients in the placebo arm experienced a significantly

 larger 8.8% increase in LDL-C from baseline. Amarin Br. Doc. at 21. Similarly, for Apo B,

 patients in the Vascepa 4 grams/day arm experienced a 2.2% decrease in Apo B from baseline,

 and patients in the Vascepa 2 grams/day arm experienced a 1.6% increase from baseline,

 whereas, patients in the placebo arm experienced a much higher 7.1% increase in Apo B from

 baseline. See id. A comparison of the non-HDL-C (meaning all of the cholesterol contained in



 9
         A “biomarker” “refers to a broad subcategory of medical signs—that is, objective
 indications of medical state observed from outside the patient—which can be measured
 accurately and reproducibly.” Kyle Strimbu and Jorge A. Tavel, M.D., What are Biomarkers?, 5
 Curr Opin HIV AIDS 463 (2011).

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 lipoproteins that is not HDL-C), showed that patients in the Vascepa 4 grams/day arm

 experienced a 5.0% decrease in non-HDL-C from baseline, and patients in the Vascepa 2

 grams/day arm experienced a 2.4% increase from baseline, whereas patients in the placebo arm

 experienced a notable 9.8% increase in non-HDL-C from baseline. See id.

        48.     Because all of the patients in the trial were supposed to be taking statins along

 with either Vascepa or placebo, the statins should have kept the LDL-C, non-HDL-C, and Apo B

 levels consistent with the patients’ entry baseline numbers because statin therapy is designed to

 control cholesterol levels. See David Pineles, MD., On The History of Statins, Clinical

 Correlations (Jan. 11, 2019), https://www.clinicalcorrelations.org/2019/01/11/on-the-history-of-

 statins/. Thus, the sizeable increases in the LDL-C, non-HDL-C, and Apo B values observed in

 the placebo arm indicated that the statins were not performing as expected in those patients.

 Because the purpose of the trial was to compare the effect of Vascepa to statin therapy alone, if

 the statin therapy in the placebo arm was not operating properly, the treatment effect in the

 Vascepa arm would have been overstated.

        49.     Despite the red flags in the placebo arm of the ANCHOR trial, on February 21,

 2013, Amarin filed an supplemental new drug application (“sNDA”) with the FDA seeking

 expanded approval of Vascepa based upon the ANCHOR indication, i.e., Vascepa treatment as

 an adjunct to diet and exercise and in combination with a statin to reduce triglyceride, non-HDL-

 C, Apo B, LDL-C, TC, and VLDL-C in adult patients with mixed dyslipidemia and coronary

 heart disease or a coronary heart disease equivalent. FDA Br. Doc. at 6, 12. As part of its

 review process, the FDA scheduled a meeting of the Endocrinologic and Metabolic Drugs

 Advisory Committee (“Advisory Committee”) to be held on October 16, 2013 (the “Advisory

 Committee Meeting”). FDA Br. Doc. at 1. Advisory committees provide the FDA with




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 independent advice from outside experts on drug applications, although the final approval

 decision is left up to the FDA. What Is An Advisory Committee?, U.S. Food & Drug

 Administration (Mar. 28, 2018), https://www.fda.gov/about-fda/fda-basics/what-fda-advisory-

 committee. Prior to the Advisory Committee Meeting, on October 11, 2013, the FDA published

 a briefing document (defined in ¶31 supra as the FDA Briefing Document) to provide

 assessments, recommendations, and conclusions regarding the sNDA for Amarin and the panel

 members of the advisory committee. See FDA Br. Doc.

        50.       In the FDA Briefing Document, the FDA raised two important problems with the

 ANCHOR trial data. First, the FDA explained that in 2008 it had told Amarin that there was

 insufficient data at the time to support the hypothesis that lowering triglyceride levels reduces

 cardiovascular risk. FDA Br. Doc. at 9. The FDA explained in the Briefing Document that

 because two other triglyceride-lowering trials conducted by other companies have subsequently

 failed, it challenges the hypothesis that adding triglyceride-lowering therapies to statins will

 reduce cardiovascular risk. Id.

        51.       Second, in the FDA Briefing Document, the FDA explained its concerns that the

 placebo data in the ANCHOR trial indicated that the mineral oil placebo may not have been inert

 (i.e., chemically inactive), and thus may have biased the treatment effect of Vascepa, stating:

                 “Although it is recognized that the effect of an intervention (e.g., mineral
                  oil capsules) cannot be isolated when one only considers within-group
                  changes over time, these results at least suggest the possibility that
                  mineral oil may not be biologically inert. If true, this complicates the
                  interpretation of between-group differences.”

                 “Also, note that for each of these parameters, with the exception of HDL-
                  C and apo A1, the placebo group demonstrated nominally statistically
                  significant changes from baseline in an adverse direction, while on
                  background statin therapy. If these within-group changes were the result
                  of factors that were randomly distributed across treatment groups, the
                  comparisons to placebo should represent the best estimates of the


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                   treatment effect. If it is possible, however, that the mineral oil placebo
                   was not biologically inert (e.g., could it have partially inhibited statin
                   absorption if concomitantly ingested?), then the comparisons with
                   placebo could produce biased treatment effects. This possibility that the
                   placebo may not be inert is further discussed in Section 5.5.”

                  “[T]he magnitude of the changes in several lipid and lipoprotein
                   parameters, as well as biomarkers of inflammation, between baseline and
                   Week 12 in the placebo group are rather atypical for lipid-lowering trials.
                   These trials, including ANCHOR, often include a several-week lead-in
                   period to stabilize diet and concomitant lipid-altering medications well
                   before baseline measurements. Although even highly statistically
                   significant within-group changes can certainly result from factors other
                   than the intended experimental intervention, one concerning possibility is
                   that the mineral oil placebo may not be biologically inert. If this were
                   true, the estimated treatment effects may be biased.”

 Id. at 7, 40, 53-55.

         52.       Amarin also prepared a briefing document (defined above as the “Amarin

 Briefing Document”) that it provided to the advisory committee panel. See Amarin Br. Doc. In

 the Amarin Briefing Document, the Company attempted to explain away the issues with the

 placebo arm noted by the FDA, stating, in part:

         Although isolated earlier publications suggested that mineral oil may interfere
         with the absorption of fat-soluble substances, more recent reports (Sharif 2001,
         and Gal-Ezar 2006) concluded that mineral oil induced fat-soluble vitamin
         deficiency is unfounded, indicating that this is not expected at the low doses used
         in ANCHOR. Overall, LLP was chosen as placebo because it is chemically inert,
         has minimal absorption, does not alter lipids, is well matched with Vascepa for
         color, is safe, and does not interfere with the absorption of fat soluble vitamins at
         the doses used in the ANCHOR study. There is no scientific evidence that
         trends for increase in lipid parameters in the placebo arm in the at-risk patient
         population that was studied in ANCHOR were caused by the placebo and, as
         described herein, Vascepa’s overall results were favourable both on a placebo
         corrected and non-placebo corrected basis.

 Id. at 15.

         53.       After the FDA published its Briefing Document on October 11, 2013, which

 included the revelations that reductions in triglyceride levels may not be sufficient to support

 approval of the ANCHOR indication and that the mineral oil in the placebo arm may have


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 caused a biased treatment effect, Amarin’s ADS’s suffered a substantial decline in value. On

 October 11, 2013, Amarin’s shares declined by $1.28 per share—from $6.37 to $5.09, an over

 20% decline—on volume of over 37.9 million shares. Amarin Corporation plc, Historical Data,

 Yahoo!Finance, https://finance.yahoo.com/quote/AMRN/history?period1=1380600000&

 period2=1383278400&interval=1d&filter=history&frequency=1d (last visited July 7, 2019).

        54.     During the Advisory Committee Meeting held on October 16, 2013, several

 committee members again remarked that the most contemporary evidence has not supported the

 hypothesis that lowering triglycerides with a drug leads to cardiovascular benefit. Id. Food and

 Drug Administration, Center for Drug Evaluation and Research, Summary Minutes of the

 Endocrinologic and Metabolic Drugs Advisory Committee Meeting, 5 (Oct. 16, 2013).

        55.     Several others, including the FDA’s Clinical Reviewer, Mary Dunne Roberts, MD

 also reiterated the FDA’s concern that the lipid and lipoprotein biomarker data observed in the

 placebo arm of the ANCHOR trial indicated that mineral oil placebo may not be inert. Dr.

 Roberts also raised the possibility that the mineral oil placebo may cause problems in the

 REDUCE-IT trial; and thus, the FDA spoke with Amarin about the issue and requested that the

 Company task the REDUCE-IT data monitoring committee to keep these concerns in mind when

 monitoring the lipid data:

        In the case of ANCHOR, however, the changes observed within the placebo
        group stood out as atypical for similarly designed lipid-lowering trials that we
        have reviewed, which gave us pause, especially since the changes went in an
        unfavorable direction. Thus, the review team sought evidence that might help
        explain the changes observed in the mineral oil group. We considered issues with
        randomization, unblinding, statin absorption, study design elements, and lipid
        changes in placebo-treated patients. Our review did not point to any particular
        cause for the observed placebo changes. Therefore, what if any implications do
        the placebo group changes have on the REDUCE-IT and ANCHOR trials? For
        REDUCE-IT, our primary concern was whether or not there was a possibility
        that the mineral oil could attenuate the effect of a statin, perhaps by inhibiting
        absorption. If plausible, this would raise concerns about the potential impact



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        this would have on the ongoing cardiovascular outcomes trial, which is also
        using mineral oil as placebo among statin-treated patients. Because we do not
        have any hard evidence for an interaction, such as a formal drug-drug interaction
        study, we discussed our concern with the sponsor and asked that they task the
        REDUCE-IT data monitoring committee with evaluating the accruing lipid data
        with this concern in mind.

        What implications are there, if any, for the ANCHOR trial? There could be none.
        If one believes that all elements affecting outcomes in the ANCHOR trial were
        equally distributed between the placebo and active groups, then the between-
        group comparisons represent the best estimate of the treatment effect, shown in
        the far right column of this table. Alternatively, if one believes that the changes
        within the placebo group could be a result of some factor that is not also present
        in the active groups, then the treatment effect of Vascepa may be overestimated.
        This may or may not affect your interpretation of whether these results would
        be expected to translate into a benefit on clinical outcomes. These possible
        implications may be kept in mind when considering the following summary
        statements regarding efficacy in the ANCHOR trial.

 Transcript of Endocrinologic and Metabolic Drugs Advisory Committee Meeting, 139-

 141 (Oct. 16, 2013), available at

 http://epadruginitiative.com/files/Vascepa_ADCOM_Transcript.docx.

        56.       Panel members also voiced their concerns that the mineral oil placebo used in the

 ANCHOR trial may not be inert. One member even suggested that the FDA look to the

 REDUCE-IT trial’s results to confirm whether mineral oil is an inert placebo, stating in part:

                 Robert J. Smith, MD: “A key point that I still feel very uncomfortable
                  about the proper control group. Have heard all the arguments, and I’ve
                  thought about them here and before coming here. But I remain
                  uncomfortable with comparisons against the placebo . . . But the point is
                  that I feel, in trying to address this question of the observed changes in
                  these lipid and lipoprotein parameters, I feel uncomfortable with what a
                  number of those changes are. . . . So again, I’m just reemphasizing my
                  concern about whether the data derived against the placebo control we
                  have are overstating the degree of change in some of these lipid
                  endpoints. . . .”

                 William R. Hiatt, MD, FACP: “The placebo responses were interesting,
                  and I appreciate the FDA and the sponsor’s attempt to explain it, which
                  they couldn’t. It’s a small study. I mean, it’s possible that it’s a fluke,
                  and it may not play out in the REDUCE-IT trial. I think that that trial


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                   will perhaps inform whether that’s a biologically accurate placebo or
                   inert placebo. Even if you subtract that out, the changes from baseline are
                   pretty dramatic on triglyceride as the primary, so I don’t think the drug is
                   inert. It’s biologically active. It’s changing the primary endpoint
                   significantly. You could ask the DMC of REDUCE-IT to monitor the
                   placebo changes, perhaps, and ask if they see signals of concern. I’m
                   not sure what you’d do about it. But it may not reappear.”

 Id. at 270-73.

         57.       In contrast, the Company’s presentation during the Advisory Committee Meeting,

 provided in part by Ketchum, recognized the “possibility of some type of inhibition of statin

 absorption” but attempted to minimize the issues and deny that the mineral oil interfered with the

 statins. Ketchum provided three explanations for the biomarkers in the placebo arm, as set forth

 in his own words below:

         But turning to your question about the mineral oil, I’d like to share with you our
         systemic evaluation of mineral oil. . . . As I go through this, I’d like to share with
         you some historical precedents, both in our studies with mineral oil but in others
         who’ve used a mineral oil placebo. And then I’d like to put it in a mixed
         dyslipidemia context in terms of range of trials and similar type of duration as
         ANCHOR with a variety of oil and non-oil placebos. I’d like to speak to the
         possibility of some type of inhibition of statin absorption. It’s obviously
         important in this context of an add-on therapy a statin. And also, the possibility
         of some type of underlying drift of lipid values in the placebo patients. . . .

 Id. at 104-108.

         58.       Despite his statements acknowledging potential issues with the mineral oil

 placebo, however, Ketchum’s conclusion was: “that we do not fully understand what contributed

 to this drift.” Id. at 108.

         59.       Nine of the eleven committee members ultimately voted “NO” to approval of the

 sNDA based upon the ANCHOR indication, stating that although the triglyceride-lowering effect

 was clear, the clinical benefit of overall cardiovascular risk reduction remained uncertain. Food




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 and Drug Administration, Center for Drug Evaluation and Research, Summary Minutes of the

 Endocrinologic and Metabolic Drugs Advisory Committee Meeting, 5 (Oct. 16, 2013).

        60.     The FDA’s concern that the mineral oil placebo used in the ANCHOR trial may

 have affected absorption of patients’ statins is not novel. It has been widely reported that

 because mineral oil acts a laxative, prolonged use can interfere with absorption of vitamins and

 minerals. See Mineral Oil, National Multiple Sclerosis Society, https://www.nationalmssociety

 .org/Treating-MS/Medications/Mineral-oil (last visited June 27, 2019); Sharon Gal-Ezer, MD &

 Ron Shaoul, MD, The Safety of Mineral Oil in the Treatment of Constipation—A Lesson from

 Prolonged Overdose, 45 Clin. Pediatr. 856 (2006); George L. Becker, The Case Against Mineral

 Oil, 19 Am. J. of Digestive Diseases 344 (1952). Indeed, the problem is so prevalent that FDA

 regulations contain a section entitled “Notice to manufacturers, packers, and distributors of drugs

 for internal use which contain mineral oil” (promulgated in 1975) warning manufacturers that

 research studies “have indicated that when mineral oil is used orally near mealtime it interferes

 with absorption from the digestive tract of provitamin A and the fat-soluble vitamins A, D, and

 K, and consequently interferes with the utilization of calcium and phosphorus, with the result

 that the user is left liable to deficiency diseases.” 21 C.F.R. 201.302(G)(a) (2018).

        61.     Due to the Advisory Committee’s negative response to the ANCHOR trial, on

 October 16, 2013, the National Association of Securities Dealers halted trading in Amarin

 ADS’s. Amarin Corporation plc, Historical Data, Yahoo! Finance,

 https://finance.yahoo.com/quote/AMRN/history?period1=1380600000&period2=1383278400&i

 nterval=1d&filter=history&frequency=1d (last visited July 7, 2019). Upon its resumption of

 trading on October 17, 2013, Amarin shares declined by an additional $3.16 per share from




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 $5.17 per share to $2.01 per share (an over 61% loss in value) on exceptionally high trading

 volume of 105.7 million shares. See id.

        62.     Shortly after the Advisory Committee Meeting took place, Amarin issued its

 quarterly financial report for the third quarter of 2013 in which it discussed the concerns with the

 placebo arm raised by the FDA during the meeting, stating, in relevant part:

        During the advisory committee meeting, based in part on the briefing materials
        prepared by the FDA for the meeting, the advisory committee reviewed the safety
        and efficacy data observed in the ANCHOR trial. This included a discussion
        regarding observed nominally statistically significant changes from baseline in an
        adverse direction, while on background statin therapy, in certain lipid parameters,
        including TGs, in the placebo group, raising the possibility that the mineral oil
        placebo used in the ANCHOR trial (and in the REDUCE-IT trial) was not
        biologically inert and might be viewed as artificially exaggerating the clinical
        effect of Vascepa when measured against placebo in the ANCHOR trial.

 Amarin Corp. plc, Quarterly Report (Form 10-Q) 35 (Nov. 7, 2013).

        63.     Per the FDA’s instructions during the Advisory Committee Meeting, Amarin

 directed the independent data monitoring committee for the REDUCE-IT trial “to periodically

 review unblinded lipid data to monitor for signals that the placebo might not be inert” and to

 provide a recommendation as to whether the trial should continue as planned. Amarin Corp. plc,

 Quarterly Report (Form 10-Q) 43 (May 8, 2015).

        E.      The Sklar Class Action

        64.     As a result of the drops in Amarin’s share price on October 11 and 16, 2013, on

 November 1, 2013, plaintiff Steven Sklar filed a class action in the United States District Court

 for the District of New Jersey against Amarin and then-CEO Zakrzewski for violations of

 Sections 10(b) and 20(a) of the Exchange Act and Rule 10b-5. See Complaint, In re Amarin

 Corporation PLC, Securities Litigation, 3:13-cv-06663-FLW-TJB (D. N.J. November 1, 2013)

 (the “Sklar Action”), ECF No. 1.




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        65.     On September 19, 2014, the court-appointed lead plaintiff filed an amended class

 action complaint adding Thero and Ketchum as defendants.10 Consolidated and Amended Class

 Action Complaint, Sklar Action, ECF No. 52. The amended complaint contained several

 different allegations concerning the defendants’ failure to disclose issues affecting the approval

 prospects of the ANCHOR indication that came to light in the FDA Briefing Document and

 during the Advisory Committee Meeting. See generally, id.

        66.     In one such allegation, the complaint claimed that the defendants misrepresented

 facts concerning issues presented by the mineral oil placebo in the ANCHOR trial. Id. at ¶¶72-

 85, 142-143. In support of this allegation, the amended complaint cited to the FDA’s concerns

 expressed in the FDA’s Briefing Document and during the Advisory Committee Meeting for the

 ANCHOR trial, as set forth in ¶¶51, 54-56 above. Id. at ¶¶ 78-82, 313. Additionally, the

 amended complaint included statements from a senior director of clinical research and medical

 affairs at Amarin (referred to as “Confidential Witness A” or “CWA”) revealing that the mineral

 oil issues seen in the ANCHOR trial and their potential impact on the REDUCE-IT trial had been

 discussed internally at Amarin:

        In September 2011, Confidential Witness A [“CWA”], a senior director of clinical
        research and medical affairs at Amarin who reported to Paresh Soni, Senior Vice
        President, Head of Development, was concerned that the mineral oil placebo was
        not inert and had an adverse impact on the absorption of the statin, which resulted
        in the 8.8% increase in LDL-C and 5.9% increase in TG readings in the control
        arm. Soni informed [CWA] that he too was concerned that mineral oil was not
        inert and had discussed his concerns with defendant Zakrzewski. . . .

        Because of his concern with mineral oil as the placebo, [CWA] recommended to
        [] Soni and Rene Braeckman (Head of Development Operations) that Amarin


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         Although not named as defendants in the Sklar Action, Granowitz joined Amarin as
 CMO in January 2016 while the Action remained ongoing and Joseph T. Kennedy, Amarin’s
 current General Counsel, joined Amarin in December 2011, and thus served as General Counsel
 for the entirety of the Sklar Action. See Executive Team, Amarin Corporation,
 https://amarincorp.com/executive_team.html (last visited on July 12, 2019).

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        conduct a . . . study to compare mineral oil placebo to corn oil and olive oil to
        determine if there were effects on results [and potentially modify the newer
        REDUCE-IT study]. Other similar studies of drugs with similar viscosity and
        taste to Vascepa at the time were using olive oil or corn oil placebos. Soni and
        Braeckman rejected any potential study or modifications to the REDUCE-IT
        protocol because the SPA had been approved by the FDA and the ANCHOR
        study had been conducted with mineral oil as the placebo. Zakrzewski told
        [CWA] that he would not allow any change to REDUCE-IT and that this study
        would meet a budget number and not to answer a scientific question and that
        Amarin ‘was not moving backwards.’ Zakrzewski told [CWA] that he was not
        changing any studies that would affect the time line of when Amarin could file the
        sNDA with the FDA for the ANCHOR indication.

 Id. at ¶¶78-79.

        67.        Ultimately, on April 27, 2015, the FDA provided a Complete Response Letter

 (“CRL”) to Amarin denying approval of the sNDA for the broader use of Vascepa based upon

 the ANCHOR indication. See Complete Response Letter from James P. Smith, MD, MS Deputy

 Division Director, Division of Metabolism and Endocrinology Products, FDA to Steven

 Ketchum PhD, President of Research and Development, Amarin Corp. plc (Apr. 27, 2015) (on

 file with the FDA). The CRL explained that the FDA decided to deny approval because, after

 other recent studies, it no longer believes that the reduction of triglycerides is a sufficient

 endpoint to measure the reduction of cardiovascular risk. See id. The FDA instructed Amarin

 that it will need to provide evidence that Vascepa reduces the risk of major adverse

 cardiovascular events (MACE) in patients at high risk for cardiovascular disease, who have

 residually high triglyceride levels and are on LDL-C statin therapy, and explained that “the final

 results from the REDUCE-IT trial could be submitted to satisfy this deficiency.” See id. Thus,

 the REDUCE-IT trial remained Amarin’s only hope for approval of Vascepa in a broader

 indication than the approved MARINE indication.

        68.        The Sklar Action made its way up to the Third Circuit Court of Appeals, which on

 May 23, 2017, issued an order affirming the District Court’s dismissal of the Action. See In re



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 Amarin Corp. PLC Sec. Litig., 689 F. App’x 124 (3d Cir. 2017). Thus, Thero, Ketchum,

 Kennedy, and Zakrzewski were all actively opposing, and therefore aware of, the allegations in

 the Sklar Action regarding the mineral oil placebo as recently as 2017.

        F.       The REDUCE-IT Trial Wraps Up

        69.      In March 2018, patients commenced the last study visits for the REDUCE-IT

 trial. See Press Release, Amarin Corp. plc, Amarin Reports Last Patient Study Visit Has

 Occurred, an Important Step Towards Completion of REDUCE-IT™ Cardiovascular Outcomes

 Study (June 28, 2018). By the end of June 2018, Amarin announced that adjudication of all

 potential endpoints for the REDUCE-IT trial was nearing completion. See id. The Company

 explained that the final steps preceding completion include resolving remaining queries in the

 trial database. See id. Amarin elaborated that “[o]nce the REDUCE-IT database is locked,

 consistent with other outcomes studies, Amarin and a team of experts plan to confidentially

 review, and analyze the data” and will thereafter promptly announce the results. Id. The

 Company predicted that it should be able to announce the results at the end of the third quarter of

 2018. See id.

        70.      On September 12, 2018, Amarin primed the market for the upcoming release of

 the REDUCE-IT trial results by announcing that the primary results had been accepted for

 presentation at the 2018 Scientific Sessions of the American Heart Association on November 10,

 2018 (the “AHA Conference”). See Press Release, Amarin Corp. plc, REDUCE-IT™ Trial

 Primary Results Accepted for Presentation at 2018 Scientific Sessions of American Heart

 Association (Sept. 12, 2018). Amarin stated that acceptance “is based on the ability of

 REDUCE-IT to address a critical question in cardiovascular prevention. The AHA has reviewed

 the design of the REDUCE-IT study, however, they have not yet seen the results of the study.”




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 Id. Amarin projected that it would be in a position to announce the results of the REDUCE-IT

 trial before the end of September 2018. See id.

 V.     DEFENDANTS MAKE MATERIALLY MISLEADING STATEMENTS

        71.     Two weeks later, on September 24, 2018, the Class Period began when Amarin

 announced the highly anticipated results of the REDUCE-IT trial. See Press Release, Amarin

 Corp. plc, REDUCE-IT™ Cardiovascular Outcomes Study of Vascepa® (icosapent ethyl)

 Capsules Met Primary Endpoint (Sept. 24, 2018). Amarin and the Officer Defendants reported

 that the REDUCE-IT trial met its primary endpoint because there was a 25% relative risk

 reduction, to a high degree of statistical significance (p<0.001), in major adverse cardiovascular

 events (MACE) in the intent-to-treat patient population with use of Vascepa 4 grams/day as

 compared to placebo. Id. In the press release announcing the results, Amarin, Thero, and

 Granowitz touted the outcome of the trial, stating, in relevant part the following:11

        Amarin Corporation plc (NASDAQ:AMRN), announced today topline results
        from the Vascepa® cardiovascular (CV) outcomes trial, REDUCE-IT™, a global
        study of 8,179 statin-treated adults with elevated CV risk. REDUCE-IT met its
        primary endpoint demonstrating an approximately 25% relative risk reduction,
        to a high degree of statistical significance (p<0.001), in major adverse CV
        events (MACE) in the intent-to-treat patient population with use of Vascepa 4
        grams/day as compared to placebo. . . .

        Efficacy: Approximately 25% relative risk reduction, demonstrated to a high
        degree of statistical significance (p<0.001), in the primary endpoint composite
        of the first occurrence of MACE, including cardiovascular death, nonfatal
        myocardial infarction (MI), nonfatal stroke, coronary revascularization, or
        unstable angina requiring hospitalization. This result was supported by robust
        demonstrations of efficacy across multiple secondary endpoints. . . .

        “We are delighted with these topline study results,” said John F. Thero, president
        and CEO of Amarin. “Given Vascepa is affordably priced, orally administered
        and has a favorable safety profile, REDUCE-IT results could lead to a new
        paradigm in treatment to further reduce the significant cardiovascular risk that

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         Although many statements by Amarin and the Officer Defendants are listed in this
 section, the statements being challenged as false and/or misleading are those statements that are
 bolded, italicized, and in some instances underlined for emphasis.

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        remains in millions of patients with LDL-C controlled by statin therapy, as
        studied in REDUCE-IT.”

        “Considered against the backdrop of multiple unsuccessful cardiovascular outcomes
        studies of earlier generation drug therapies, including multiple recent failed
        cardiovascular studies of omega-3 mixture products that contain the omega-3 acid DHA,
        REDUCE-IT topline results stand alone as positive and confirm our hypothesis that
        pure EPA Vascepa at 4 grams/day can provide additional cardiovascular risk reduction
        benefit on top of LDL-C control with standard of care statin therapy in studied
        patients,” added Craig Granowitz, MD, PhD, senior vice president and chief medical
        officer of Amarin. “REDUCE-IT results cannot be generalized to fenofibrate, fish oil or
        omega-3 mixture products that contain DHA. The most relevant comparator study to
        REDUCE-IT is the Japan EPA lipid intervention study (JELIS), the 18,645 patient, open
        label, blinded endpoint outcomes study of EPA added to low-dose statin therapy, which
        showed cardiovascular event reduction in Japanese hypercholesterolemic patients of 19%
        in the overall population and 53% in a subgroup of patients with elevated TG levels and
        low HDL-C.”

        72.     The Company also held a conference call that day to further exalt the results of

 the REDUCE-IT trial. Transcript of Vascepa REDUCE-IT Study Result Call (Sept. 24, 2018)

 (on file with Bloomberg). During the call, Amarin, Thero, Ketchum, and Granowitz stated in

 relevant part the following:

        [Thero]: On this call, I’ll recap topline results of REDUCE-IT and provide
        context on how these truly remarkable results fit within our current market
        dynamics and how they could affect demand for Vascepa generally. I’ll then
        hand the call over to Dr. Steve Ketchum, our President of R&D and Chief
        Scientific Officer, to provide more detailed context on the REDUCE-IT study
        itself. To recap REDUCE-IT results, approximately 25% relative risk reduction
        in the primary endpoint composite of the first occurrence of major adverse
        cardiovascular events known as MACE. That 25% is on top of LDL-C
        controlled by statin therapy in REDUCE-IT patients. LDL-C controlled with
        statin therapy is generally understood to lower cardiovascular risk by 25% to
        35%. Our REDUCE-IT result added approximately 25% cardiovascular risk
        reduction on top of the controlled LDL-C. That’s huge, folks. That
        approximately 25% relative risk reduction was achieved to a high degree of
        statistical significance, p less than 0.001. This primary endpoint result was
        supported by robust demonstrations of efficacy across multiple secondary
        endpoints. . . .

        [Thero]: For perspective, note that the relative risk reduction of Lipitor,
        atorvastatin, is approximately 25%. Lipitor, before going generic, was one of the
        most successful branded drugs of all time and the 25% relative risk reduction



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       from Vascepa in REDUCE-IT is 25% on top of statin therapy. This is indeed
       huge and represents a greater reduction than demonstrated on top of statin
       therapy for any other drug. It also positions Vascepa to be first to market in
       addressing a large unmet medical need. This is an extremely exciting result.
       This result appears to significantly exceed the expectations of even the highest
       degree of success scenarios projected by analysts covering Amarin over the
       years. We will strive to put these results in context today, so that models can be
       revised. . . .

       [Thero]: It’s clear that management of LDL-cholesterol, known as bad
       cholesterol, is not enough. LDL-cholesterol management with statin therapy
       lowers cardiovascular risk by 25% to 35%. But this leaves 65% to 75% of
       residual risk. There is an urgent need to help reduce this residual risk. An
       additional 25% relative risk reduction in REDUCE-IT, on top of well-controlled
       LDL-cholesterol through statin therapy positions Vascepa as the single, most
       significant advance in preventative cardiovascular drug therapy since the
       advent of statin therapy. That’s a big statement. Let’s pressure-test that
       statement now. Keep in mind, folks, decades of drug development in multiple
       drug classes has failed to significantly improve outcomes on top of standard of
       care statin therapy. . . . REDUCE-IT results with 25% relative risk reduction on
       top of statins are not only outstanding, but keep in mind, Vascepa is already
       viewed as a safe drug, an inexpensive drug and as a drug that already enjoys
       broad insurance coverage, as it has been on the market for five years. . . .

       [Thero]: Fast forward to over a decade and hundreds of millions of dollars of big
       pharma clinical development to REDUCE-IT. With approximately 25% relative
       risk reduction on top of statin therapy now demonstrated, we have confirmed
       that our easy-to-use drug that's inexpensive with broad reimbursement
       coverage significantly reduces cardiovascular risk. It thus has the potential to
       overcome the limitations of multiple blockbuster prior generation therapies. It
       thus has the potential to be a significant blockbuster and help millions of
       patients reduce cardiovascular risk on top of standard of care statin therapy. . . .

       [Thero]: I’ll share one important aspect of that unique clinical profile with you
       now. It will help explain why REDUCE-IT results certainly cannot be
       generalized to any prior generation add-on to statin such as a fenofibrate and why
       the REDUCE-IT results cannot be generalized to common fish oil or omega-3
       mixture products that contain the omega-3 acid DHA. Followers of Amarin are
       familiar with the Japanese EPA Lipid Intervention Study known as the JELIS
       study. JELIS is the most relevant comparator study to REDUCE-IT. It’s an
       18,645-patient open-label, blinded endpoint analysis cardiovascular outcome
       study of EPA, the same active ingredient in Vascepa added to low-dose statin
       therapy. JELIS showed cardiovascular event reduction in Japanese
       hypercholesterolemic patients of 19% in the overall population. And in a niche
       subgroup of patients with elevated triglyceride levels and low HDL cholesterol,
       a 53% relative risk reduction. That 19% relative risk reduction is comparable to



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       the 25% in REDUCE-IT. Importantly, JELIS was a study of
       hypercholesterolemic patients. That is patients on low-dose statins but with high
       bad cholesterol. Persistent elevated triglyceride levels were not an entry criteria
       as they were in REDUCE-IT, and indeed, the median baseline triglyceride levels
       were not high in JELIS at 153 mgs per deciliter. . . .

       [Thero]: More study was then needed to confirm such a benefit from EPA. And
       the FDA then encouraged us to complete REDUCE-IT to help answer that
       question. We are grateful for their prodding and delighted with the REDUCE-IT
       results. With an approximate 25% risk reduction on top of statin therapy, we’re
       satisfied that we have confirmed Vascepa’s unique characteristics and their
       utility in lowering cardiovascular risk in REDUCE-IT. . . .

       [Ketchum]: Moreover, I can’t express enough appreciation to the clinical sites
       and patients involved in this important study. The topline results we are sharing
       today are, indeed, very positive and representative of an overall robust study
       result. We are very eager to share REDUCE-IT data in greater detail with both
       the medical and regulatory communities. . . .

       [Ketchum]: The design of the REDUCE-IT study was robust. REDUCE-IT was
       designed to provide 90% power to detect a 15% relative risk reduction between
       arms. The highly statistically significant approximately 25% relative risk
       reduction in the primary outcome helps demonstrate that robustness, as does
       the robust demonstrations of efficacy across multiple secondary endpoints. . . .

       [Kethcum]: As announced with respect to the primary endpoint of the study, the
       key topline result of the REDUCE-IT study, as reported today, is approximately
       25% relative risk reduction, demonstrated to a high degree of statistical
       significance P less than 0.001. This topline primary endpoint result is
       supported by robust demonstrations of efficacy across multiple secondary
       endpoints. To preserve the ability to publish and to help move that process along
       quickly, we are not disclosing additional details of these secondary endpoints at
       this time. We reiterate, however, that the P value in this large multicenter trial
       was highly statistically significant at less than P 0.001, which is generally
       recognized as a statistically very persuasive finding. Results were supported by
       robust demonstrations of efficacy across multiple secondary endpoints. . . .

       [Ketchum]: Importantly, Vascepa’s effect in the REDUCE-IT study is in patients
       with a median baseline LDL-C of 75 milligrams per deciliter. We view the
       approximately 25% relative risk reduction in the primary endpoint as
       particularly compelling in light of that low LDL-C level. 75 milligrams per
       deciliter for LDL-C is 25% lower than the target LDL-C historically recognized
       as a target for healthy adults. 75 milligrams per deciliter is very close to 70
       milligrams per deciliter which is the historically recognized target level of LDL-C
       for at-risk patients. That is the level of LDL-C that doctors aim to achieve with
       statin therapy for patients that have other CV risk factors. So, keep in mind that



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       patients enrolled in REDUCE-IT had their LDL-C in control with statin therapy at
       the study start. Vascepa is not an LDL-C lowering therapy. The approximately
       25% cardiovascular benefit demonstrated in REDUCE-IT was in addition to,
       that is on top of that achieved by statin LDL-C lowering and control. Likewise,
       while enrollment focused on patients with TGs between 150 milligrams to 499
       milligrams per deciliter, median baseline TGs were 216 milligrams per deciliter.
       We view the approximately 25% relative risk reduction in the primary endpoint
       as particularly compelling in light of median TG levels in REDUCE-IT of 216
       milligrams which is on the low end of the enrollment range. . . .

       [Granowitz]: And it’s important for us to think about the fact that the secondary
       endpoints were robust across a large number of those endpoints. And I think
       what the medical community is looking for is consistency of magnitude of
       effect. And that's what we’ve tried to communicate in the release is that the
       effects are consistent and robust across a wide range of these secondary
       endpoints in the study.

       [Thero]: But Craig is right, the consistency and the robustness of the data, I think,
       will be – this is a robust study. It’s going to be very interesting to people. . . .
       The details of that further data, we are very excited about presenting the results at
       AHA, but 15% – excuse me, 25%; and I’d say 15%, that is our desire. If you
       move into this new paradigm, 25%, our relative risk reduction is huge and, I
       think to your point, it’s going to draw a lot of attention at AHA. So, hopefully,
       those comments are useful. . . .

       [Thero]: We don’t compete with PCSK9s, they’re a lot more expensive, but at
       15% relative risk reduction, the analysis of pharmacoeconomics suggests that the
       value of that therapy is higher than what is the current pricing of Vascepa. We
       have better – we have stronger relative risk reduction and a lower price and of
       course, we’re also oral and we’re really nice safety profile. So, we’ll look
       forward to seeing what analysis comes out of that. Number three, and all that
       information, we look forward to including in our presentation at American Heart
       Association. . . .

       [Thero]: 15% is viewed as a major winner and anything above that was sort of a
       dream. And we know that there’s a bit of a paradox out there, right? Cardiovascular
       disease is the biggest area of death, bigger area in healthcare spending, but it’s also an
       area where innovation has been slow in part because that’s difficult. It also creates some
       barriers to somebody coming in behind us. But docs change behavior slower in this area
       than they do in some other areas, say oncology, for example. But this result is
       remarkable. Hopefully, it will catch their attention, we will see now as the data gets
       digested, presented public, just how well their behavior patterns change and whether that
       matches up to the research. But the research was pretty encouraging at 15% and 20%
       was really encouraging, so we’ll see where that all goes. Obviously, 25% is what we
       achieved and that’s the highest of any therapy, well higher than PCSK9, much more




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           affordable, but well higher than anything else that's out there. So, this should be a
           game changer.

           73.    Notably during the conference call, Amarin and the Officer Defendants indicated

 that they had reviewed the entire data set, but explained that they were withholding the

 remaining results for the forthcoming AHA Conference presentation and a peer-reviewed journal

 article. Id. at 5-8, 10, 12. However, they assured the market that the remaining data was

 positive, showing “robust demonstrations of efficacy across multiple secondary endpoints.” Id.

 at 5-6.

           74.    Also on September 24, 2018, Thero made an appearance on the CNBC show

 “Power Lunch” to discuss the results of the REDUCE-IT trial. CNBC, Power Lunch: Amarin

 CEO on Future of Heart Drug Vascepa, YouTube (Sept. 24, 2018), https://www.youtube.com

 /watch?v=rfDzakJJc7s. During the program, Amarin and Thero stated, in relevant part:

           [Thero at 00:00:06]: People have been working to lower cholesterol for years.
           We know that lowering cholesterol, whether it be through statins or PCSK9s,
           lowers cardiovascular risk by about 25 to 35 percent. 25 to 35 percent is terrific,
           but still of course leaves 60 to 75 percent residual risk. Where our drug is focused
           is addressing that 65 percent to 75 percent residual risk. So to be able to show 25
           percent risk reduction on top of that cholesterol management is both new, and
           we believe very important in terms of an opportunity for improved healthcare. . .

           [00:00:25]: A popup appears on CNBC’s video that states: “Approximately 25%
           relative risk reduction in heart disease patients with well-controlled LDL
           cholesterol” . . .

           [00:01:23]: A popup appears on CNBC’s video that states: “25% reduction in risk of
           serious cardiovascular events” . . .

           75.    Analysts were elated with this news. Jefferies raised its price target from $2.99 to

 $15.00 because “[t]he magnitude of MACE reduction is so far the greatest among all therapies

 on top of statins, far exceeding the clinically meaningful CV benefit expectation” and justifies

 “an opportunity to grow sales to $2-3” billion. Roger Song, First-in-kind Positive CVOT:




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 Vascepa REDUCEd CV Risks by 25%, Jefferies LLC (Sept. 24, 2018); Roger Song & Michael J.

 Yee, Stock Has Room to Move Higher, Vascepa Potential SoC – Raising PT to $15, Jefferies

 LLC (Sept. 24, 2018). In a report entitled “AMRN Has Landed The Whale[,]” Cantor Fitzgerald

 announced that it has raised its price target to $15.00 from $2.99 the day prior, explaining that

 the “REDUCE-IT results today could change the treatment paradigm for CV disease[.]” Louise

 Chen, et al., AMRN Has Landed The Whale; Raising PT To $15 from $10 Post Positive Data,

 Cantor Fitzgerald (Sept. 24, 2018). H.C. Wainright raised its price target from $10 to $20

 because “Vascepa treatment on top of statin therapies wildly exceeded the skeptical consensus

 going into the data readout.” Andrew S. Fein, et al., REDUCE-IT Results Even Stronger than

 Our Best Case Scenario; Reit Buy and Raising PT to $20, H.C. Wainright & Co. (Sept. 25,

 2018).

          76.   The market’s reaction mirrored the analysts’ excitement. The share price soared

 from a close of $2.99 per share on September 23, 2018 to close at $13.00 per share on September

 25, 2018, an increase of 433%. See Amarin Corporation plc, Historical Data, Yahoo! Finance,

 https://finance.yahoo.com/quote/AMRN/history?period1=1535774400&period2=1538712000&i

 nterval=1d&filter=history&frequency=1d (last visited June 28, 2019). Volume spiked from

 4,265,400 shares on September 23, 2018 to 163,103,800 and 106,330,700 shares on September

 24, 2018 and September 25, 2018, respectively. See id. The share price continued to rise in the

 following weeks, and reached the Class Period high of $22.98 per share on November 5, 2018, a

 768% increase over the closing price on September 23, 2018.

          77.   In the following weeks Amarin and the Officer Defendants continued to tout the

 results of the REDUCE-IT trial at conferences and in Amarin’s SEC filings.




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        78.    On October 3, 2018 Thero gave a presentation at the Cantor Fitzgerald Global

 Healthcare Conference. See Transcript of Amarin Corporation PLC’s CEO John Thero’s

 Presentation at Cantor Global Healthcare Conference (Oct. 3, 2018) (on file with Seeking

 Alpha). During the presentation, Amarin and Thero stated in relevant part, the following:

        We know that cholesterol management is important but we know that cholesterol
        management only deals with a portion of the risk. Our solution is our lead
        product Vascepa which recently completed a landmark cardiovascular outcomes
        study, and I’ll be going through those results during this presentation which
        includes a strong efficacy result, as well as placebo like safety profile. This is
        the first successful outcome study in the space. We’ll talk a bit about why that
        is, and why that’s different than what other products have done. . . .

        So before we had results from the study we spoke with our PI, we spoke with
        American Heart Association, we spoke with various journals who were interested
        in publishing this [indiscernible] type study and told them that we have to - we
        owe it to our stakeholders to describe some information in advance. They insisted
        that we hold back certain information for them. While, we have disclosed this on
        this slide and that is that we – that’s the primary endpoint of the study which was
        again, relative risk reduction on that composite MACE endpoint that I described
        earlier. Our target had been 15% relative risk reduction, we achieved 25%
        relative risk reduction. And we did that with the p value which was statistically
        significant p less than 0.001. We also without providing quantification
        indicated that the underlying data is supportive of that primary result. We will
        have more to report on that that at the American Heart Association and our
        principal investigator, Deepak Bhatt from Brigham and Women’s has expressed
        that he’s very much looking forward to that presentation at the American Heart
        Association. . . .

        What has been shown to work is the one exception until our study reduced it was
        the JELIS study in Japan which also used EPA and show a 19% relative risk
        reduction, the drug has been very successful in Japan and it was hypothesis
        generating for what we’re doing. We believe that the REDUCE-IT study is the
        definitive study conducted on global basis and that had the 25% relative risk
        reduction which, again, is a [indiscernible] statin level kind of relative risk
        reduction but this is on top of [indiscernible] statin and other statins. . . .

        This is really a new paradigm that we’re starting and we think it parallels that
        what we saw with statin therapy where you had earlier generation products
        whether it being Niacin in which hasn’t succeeded in outcomes like various
        tolerability issues fenofibrates it also failed in outcomes studies to Lovaza or other
        Omega-3 mixtures which have failed in outcome studies. Now the new
        generation therapy which is different and that’s Vascepa and with a 25%



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        relative risk reduction on top of cholesterol management, we see this starting a
        new opportunity and hope it helps millions of people.

        79.     On November 1, 2018, Amarin published a press release to announce its third

 quarter financial results. See Press Release, Amarin Corp. plc, Amarin Reports Third Quarter

 2018 Financial Results and Provides Update on Operations (Nov. 1, 2018). In the press release,

 Amarin and Thero stated, in relevant part, the following:

        The Vascepa® (icosapent ethyl) cardiovascular outcomes study, REDUCE-IT™,
        reported topline results on September 24, 2018. REDUCE-IT met its primary
        endpoint demonstrating an approximately 25% relative risk reduction, to a high
        degree of statistical significance (p<0.001), in major adverse cardiovascular
        events (MACE) in the intent-to-treat patient population with use of Vascepa 4
        grams/day as compared to placebo. Additional details regarding these important
        results are scheduled for presentation on November 10th at the 2018 Scientific
        Sessions of the American Heart Association (AHA) in Chicago, Illinois. . . .

        “The landmark results of the REDUCE-IT study present an important
        opportunity to improve the practice of medicine with respect to preventative
        cardiovascular care. We believe that these outcomes study results position
        Vascepa to address a significant unmet medical need and could be considered
        the most significant breakthrough in preventative cardiovascular care since the
        advent of statin therapy decades ago. We are very excited about the potential for
        Vascepa to help millions of patients and we are acting accordingly to expand on
        our established commercial foundation, including existing broad managed care
        coverage and extensive key opinion leader support,” stated John F. Thero,
        president and chief executive officer. “Amarin looks forward to the primary
        REDUCE-IT outcomes study results being presented at AHA and to working
        towards the future publication of these results in a major medical journal within
        2018.” . . .

        Until the AHA presentation, as agreed with AHA, Amarin does not plan to share
        any further details regarding the results of the REDUCE-It study. Key topline
        results from the REDUCE-IT study as reported on September 24, 2018 include:
        Efficacy: Approximately 25% relative risk reduction, demonstrated to a high
        degree of statistical significance (p<0.001), in the primary endpoint composite
        of the first occurrence of MACE, including cardiovascular death, nonfatal
        myocardial infarction (MI), nonfatal stroke, coronary revascularization, or
        unstable angina requiring hospitalization. This result was supported by robust
        demonstrations of efficacy across multiple secondary endpoints. No further
        information regarding the secondary endpoint results will be provided until the
        AHA presentation.




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        80.     On that same day, Amarin filed its financial report for the third quarter of 2018

 with the SEC on Form 10-Q. See Amarin Corp. plc, Quarterly Financial Report (Form 10-Q)

 (Nov. 1, 2018). The report was signed by Thero, with Amarin and Thero stating, in relevant

 part, the following:

        In September 2018, we announced landmark positive topline results of the
        REDUCE-IT cardiovascular outcomes trial. The REDUCE-IT study met its
        primary endpoint demonstrating an approximately 25% relative risk reduction
        in composite of major adverse cardiovascular events with high statistical
        significance. This result was supported by robust demonstrations of efficacy
        across multiple secondary endpoints. The REDUCE-IT study results have been
        accepted for presentation at the 2018 Scientific Sessions of the American Heart
        Association (AHA) on November 10, 2018.


                                              * * *

        Item 1A. Risk Factors . . .

        In September 2018, we announced topline results from the REDUCE-IT™
        (Reduction of Cardiovascular Events with EPA—Intervention Trial)
        cardiovascular (CV) outcomes study of Vascepa. REDUCE-IT was a
        multinational, prospective, randomized, double-blind, placebo-controlled study,
        enrollment for which started in November 2011. REDUCE-IT investigated the
        effects of Vascepa on CV risk in statin-treated adults with well-controlled LDL-C
        41-100 mg/dL (median baseline LDL-C: 75 mg/dL) and other CV risk factors,
        including persistent elevated TG 150-499 mg/dL (median baseline TG: 216
        mg/dL). REDUCE-IT topline results showed the trial met its primary endpoint
        demonstrating an approximately 25% relative risk reduction, to a high degree of
        statistical significance (p<0.001), in major adverse cardiovascular events
        (MACE) in the intent-to-treat patient population with use of Vascepa 4
        grams/day as compared to placebo. MACE events were defined as a composite
        of cardiovascular death, nonfatal myocardial infarction (MI), nonfatal stroke,
        coronary revascularization, or unstable angina requiring hospitalization. This
        result was supported by robust demonstrations of efficacy across multiple
        secondary endpoints. Vascepa was well tolerated in REDUCE-IT with a safety
        profile consistent with clinical experience associated with omega-3 fatty acids and
        current FDA-approved labelling. The proportions of patients experiencing
        adverse events and serious adverse events in REDUCE-IT were similar between
        the active and placebo treatment groups. Based on the final positive results of
        REDUCE-IT, we plan to seek additional indicated uses for Vascepa in the United
        States and to continue to develop Vascepa commercially in major markets around
        the world. . . .



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        If Vascepa does not achieve an adequate level of acceptance, we may not generate
        product revenues sufficient to become profitable. The degree of market
        acceptance of Vascepa for the MARINE indication and in ANCHOR patients and
        in any future indications and uses based on the REDUCE-IT trial or otherwise
        will depend on a number of factors, including: the perceived efficacy and safety
        of Vascepa by prescribing healthcare professionals, as compared to no
        treatment and as compared to alternative treatments in various at risk patient
        populations, both as studied in clinical trials of Vascepa such as MARINE,
        ANCHOR and REDUCE-IT and not studied but for which the benefit/risk profile
        may be viewed as positive; . . .

        In September 2018, we announced topline results from the REDUCE-IT trial
        showing that the trial met its primary endpoint demonstrating an approximately
        25% relative risk reduction, to a high degree of statistical significance
        (p<0.001), in MACE in the intent-to-treat patient population with use of
        Vascepa 4 grams/day as compared to placebo. After announcement of
        favorable topline results from REDUCE-IT, additional data assessment and
        data release will yield additional useful information to inform greater
        understanding of study outcome. Generally, detailed trial data assessment may
        take several months and even years to complete and publish. More detailed
        presentation of REDUCE-IT results are scheduled first at the 2018 Scientific
        Sessions of the American Heart Association (AHA) on November 10, 2018 in
        Chicago, Illinois. That presentation and additional data may exceed, match or
        may not meet investor expectations. Aspects that could change and impact the
        final evaluation of the totality of the efficacy and safety data from REDUCE-IT
        may include some or all of the following: the magnitude of the treatment benefit
        on the primary composite endpoint, its components, secondary endpoints and
        the primary and secondary risk prevention cohorts;

        81.     Along with the financial report, Amarin filed a certification pursuant to the

 Sarbanes-Oxley Act of 2002 signed by Thero which stated, in relevant part:

        Based on my knowledge, this report does not contain any untrue statement of a
        material fact or omit to state a material fact necessary to make the statements
        made, in light of the circumstances under which such statements were made,
        not misleading with respect to the period covered by this report;

        82.     On November 1, 2018, Amarin also held a conference call to discuss its financial

 results from the third quarter of 2018. See Transcript of Amarin’s Q3 2018 Earnings Call (Nov.

 1, 2018) (on file with Bloomberg). During the conference call, Amarin and Thero stated, in

 relevant part, the following:



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       Even if Lovaza in VITAL surprises the medical community and in contrast to the
       body of evidence from other failed outcome studies of omega-3 mixtures, shows
       some level of cardioprotective benefit. It would be very surprising if the results
       approach anywhere near the approximate 25% risk reduction we reported for
       Vascepa top-line, REDUCE-IT cardiovascular outcome study results. We say
       this with confidence, because no other drug has demonstrated the ability to
       lower cardiovascular events by 25% on top of statin therapy. . . . A recap of the-
       top line results we reported for REDUCE-IT study is as follows. Primary
       endpoint achieved with approximate 25% relative risk reduction in the
       composite of first occurrence of major adverse cardiovascular events, known as
       MACE. The 25% is on top of LDL cholesterol controlled by statin therapy in
       REDUCE-IT patients. LDL cholesterol controlled by statin therapy is generally
       understood to lower cardiovascular risk by 25% to 35%. Our REDUCE-IT
       results add approximately 25% cardiovascular risk reduction on top of
       controlled LDL-C. The top-line risk reduction of approximately 25% was
       achieved to a high degree of statistical significance, p less than 0.001. This
       primary endpoint top-line results were supported by robust demonstrations of
       efficacy across multiple secondary endpoints. We will not be providing more
       information regarding the secondary endpoint results until the presentation at
       AHA. On the safety side, Vascepa was well tolerated with a safety profile
       consistent with omega-3 fatty acids in current FDA-approved labeling.
       Cholesterol management lowers cardiovascular risk from 25% to 35%, leaving
       65% to 75% residual cardiovascular risk. It is this substantial residual risk we
       seek to address with Vascepa. We believe that these clinical results position
       Vascepa to provide a new layer of cardioprotecive benefits which may
       potentially help millions of patients in the United States and internationally.
       Achieving 25% risk reduction on top of statin therapy is more than has been
       shown for any other therapy. For example, PCSK9s lower cardiovascular risk by
       15%. Note that the risk reduction of the most widely used statin, Lipitor or
       atorvastatin, is approximately 25%, and Vascepa’s 25% risk reduction is
       incremental to the benefit of statin therapy. Moreover, the REDUCE-IT results
       positions Vascepa to lead a new paradigm in patient care beyond cholesterol
       management. They also position Vascepa to be first-to-market in addressing a
       large unmet medical need. . . .

       Recall that in the JELIS study, the 19% risk reduction was achieved with only a
       5% lowering of triglyceride levels. While elevated triglyceride levels are
       associated with higher levels of cardiovascular risks, it has not been established
       that lowering triglyceride levels alone significantly reduces cardiovascular risk. . .

       We continue to reinforce that REDUCE-IT results are unique to Vascepa and
       cannot be generalized any prior generation add-on to statin, such as
       fenofibrates and that the REDUCE-IT results cannot be generalized to common
       fish oil or omega-3 mixture products, particularly those that can contain the
       omega-3 acid DHA. . . .




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        It is flattering but not surprising to hear the accolades that outside advisors
        involved with the REDUCE-IT trial are repeatedly expressing regarding the
        high quality and ability of the Amarin’s scientific team. . . .

        We remain optimistic that the REDUCE-IT results will offshore in a new
        treatment paradigm to address the large unmet need of combating the residual
        risk of 65% to 75% that remain after statin treatment. The market is potentially
        large as tens and millions of adults are at cardiovascular risk that cannot be
        addressed by cholesterol management alone. . . .

        This is with the REDUCE-IT results an opportunity to provide medical therapy
        that is a new paradigm in treatment that should really be thought of as very
        different than the market that dietary supplements are going after and dietary
        supplements try to cross over will take all actions appropriate to both educate and
        towards those efforts. . . .

        So, we are looking forward to presenting the results in detail at the American
        Heart Association, and we think that those details will be helpful to physicians
        in the end, I think the same people hopefully will remember it’s a 25%
        reduction, but people seeing the results will give them confidence in the
        meaning of that 25%. So, hopefully, those comments were h[elp]ful.

        83.     Amarin and the Officer Defendants’ statements announcing the REDUCE-IT

 results on September 24, 2018, and in subsequently touting the results in the following weeks, set

 forth in ¶¶71-72, 74, 78-82 above, were misleading when made, in the context of the FDA’s

 prior concerns regarding the impact of the mineral oil placebo in the ANCHOR trial, the FDA’s

 rejection of the ANCHOR sNDA, the FDA’s direction to Amarin to monitor the placebo arm in

 the REDUCE-IT trial, the allegations in the Sklar Action regarding the use of mineral oil as a

 placebo, Regulation 21 C.F.R. 201.302(G)(a) (2018), and recent failed cardiovascular studies of

 omega-3 products, because Amarin and the Officer Defendants omitted the following facts:

                (a)    In the Vascepa arm of the REDUCE-IT trial patients’ median LDL-C

                       derived12 values increased from 74 to 77 mg/dL, or 3.1%, from baseline to




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         The LDL-C values are characterized as “derived” and “Hopkins” based upon the two
 different methods that were used to calculate the levels. See NEJM Article supp. app. at 26.

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                   the last visit, but in the placebo arm patients’ median LDL-C derived

                   values increased from 76 to 84 mg/dL, or 10.2%, from baseline to the last

                   visit. See NEJM Article supp. app. at 38. Because properly performing

                   statins should have kept LDL-C derived levels relatively constant from

                   baseline, the increases in LDL-C derived levels in the placebo arm

                   indicate that the mineral oil placebo may have interfered with patients’

                   cholesterol-lowering statins. If the mineral oil had interfered with the

                   statins in the placebo arm, the purported treatment effect, and thus the

                   relative risk reduction, would have been far less significant than Amarin

                   and the Officer Defendants initially reported, yet Amarin and the Officer

                   Defendants failed to disclose this risk;

             (b)   In the Vascepa arm of the REDUCE-IT trial patients’ median LDL-C

                   Hopkins values decreased from 85.8 to 84 mg/dL, or 1.2%, from baseline

                   to the last visit, but in the placebo arm patients’ median LDL-C Hopkins

                   values increased from 86.7 to 92.1 mg/dL, or 6.5%, from baseline to the

                   last visit. See id. Because properly performing statins should have kept

                   LDL-C Hopkins levels relatively constant from baseline, the increases in

                   the LDL-C Hopkins levels in the placebo arm indicate that the mineral oil

                   placebo may have interfered with patients’ cholesterol-lowering statins. If

                   the mineral oil had interfered with the statins in the placebo arm, the

                   purported treatment effect, and thus the relative risk reduction, would have

                   been far less significant than Amarin and the Officer Defendants initially




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                       reported, yet Amarin and the Officer Defendants failed to disclose this

                       risk;

                (c)    In the Vascepa arm of the REDUCE-IT trial patients’ median Apo B

                       values decreased from 82 to 80 mg/dL, or 2.5%, from baseline to the last

                       visit, but in the placebo arm patients’ median Apo B values increased

                       from 83 to 86 mg/dL, or 4.5%, from baseline to the last visit. See id.

                       Because properly performing statins should have kept Apo B levels

                       relatively constant from baseline, the increases in Apo B levels in the

                       placebo arm indicate that the mineral oil placebo may have interfered with

                       patients’ cholesterol-lowering statins. If the mineral oil had interfered

                       with the statins in the placebo arm, the purported treatment effect, and thus

                       the relative risk reduction, would have been far less significant than

                       Amarin and the Officer Defendants initially reported, yet Amarin and the

                       Officer Defendants failed to disclose this risk;

                (d)    In the Vascepa arm of the REDUCE-IT trial patients’ median hsCRP13

                       values decreased from 2.2 to 1.8 mg/L, or 12.6%, from baseline to the last

                       visit, but in the placebo arm patients’ median hsCRP values increased

                       from 2.1 to 2.8 mg/L, or 29.9%, from baseline to the last visit. See id.

                       Because properly performing statins should have kept hsCRP levels




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         hsCRP is a protein released into the blood by the liver during inflammation, and thus is a
 commonly used clinical marker of general and cardiac-related inflammation. High Sensitivity C-
 Reactive Protein (hsCRP), ClevelandHeartLab (Sept. 2013),
 http://www.clevelandheartlab.com/wp-content/uploads/2013/09/hsCRP-Practitioner-One-Pager-
 CHL-D009b.pdf. Statins are used as a treatment to lower hsCRP levels. See id.



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                      relatively constant from baseline, the increases in hsCRP levels in the

                      placebo arm indicate that the mineral oil placebo may have interfered with

                      patients’ cholesterol-lowering statins. If the mineral oil had interfered

                      with the statins in the placebo arm, the purported treatment effect, and thus

                      the relative risk reduction, would have been far less significant than

                      Amarin and the Officer Defendants initially reported, yet Amarin and the

                      Officer Defendants failed to disclose this risk; and

               (e)    In the REDUCE-IT trial the mechanism(s) of action14 responsible for the

                      purported benefit observed in the Vascepa arm could not be identified.

                      See NEJM Article at 20-21. The benefit could have been achieved from a

                      host of different factors, including, but not limited to, a reduction in

                      triglyceride levels, an antithrombotic mechanism of action, membrane

                      stabilizing effects, stabilization or regression of coronary plaque, the

                      difference in hsCRP, or a reduction in inflammation, but it was unclear

                      which of these, if any, was the cause. See id. The fact that the

                      mechanisms responsible for the benefit were unknown increases the

                      likelihood that this result was just a fluke occurrence, creates the

                      possibility that additional trials may be necessary to determine the

                      mechanism(s) of action, and hinders doctors’ ability to determine to which




 14
         A “mechanism of action” is the biochemical process through which a drug produces its
 effect. Kristalyn Salters-Pedneault, P, Mechanism of Action in Healthcare, Verywell Mind (June
 15, 2018), https://www.verywellmind.com/meaning-of-mechanism-of-action-in-health-care-
 425245.

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                        patients the drug should be prescribed, thereby potentially reducing the

                        adoption rate by physicians and the commercial prospects for Vascepa.

        84.     Despite being aware of these problems with the trial results, and aware that the

 FDA had previously been concerned with the mineral oil placebo in the ANCHOR trial, Amarin

 and the Officer Defendants decided to conceal this information from the market to drive up

 Amarin’s share price and keep it inflated. Indeed, the Officer Defendants were personally

 motivated to keep these problems hidden because the Board of Directors had established a bonus

 incentive “Stretch Goal” for management, whereby they would earn 50% of their annual bonus if

 the REDUCE-IT trial achieved “20% or more in relative risk reduction” for the primary

 endpoint. See Amarin Corp. plc, Proxy Statement (Schedule 14A) 35 (Apr. 25, 2019).

 Furthermore, numerous insiders took advantage of the soaring share price and sold significant

 portions of their personal ADS holdings in the days after the announcement. See § VII.A.1 infra.

 VI.    RELEVANT POST-CLASS PERIOD EVENTS

        A.      The NEJM Article and AHA Presentation Disclose The Full REDUCE-IT
                Trial Results

        85.     On November 10, 2018, the New England Journal of Medicine (“NEJM”)

 published an article written by Dr. Deepak L. Bhatt, the principal investigator for the REDUCE-

 IT trial, along with other trial investigators as well as Ketchum and Granowitz. The article was

 entitled “Cardiovascular Risk Reduction with Icosapent Ethyl for Hypertriglyceridemia” and

 featured the full results from the REDUCE-IT trial. See NEJM Article. In regard to the efficacy

 of Vascepa, the article explained that the drug showed a consistent benefit across the primary and

 secondary endpoints for the trial, stating, “[i]n the prespecified hierarchical testing of




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 [secondary] end points (Fig. 4), the rates of individual and composite ischemic end points15

 (except for death from any cause – the last secondary endpoint in the hierarchy) were

 significantly lower in the [Vascepa] group than in the placebo group, including the rate of

 cardiovascular death[.]” See id.

        86.     However, the article also disclosed for the first time the negative data from the

 REDUCE-IT trial that Amarin and the Officer Defendants had omitted from their prior

 discussions of the results beginning on September 24, 2018.

        87.     In regard to the issues with the placebo arm, the supplemental appendix to the

 article listed the lipid and lipoprotein biomarker results for the REDUCE-IT trial in a detailed

 chart, including the LDL-C derived, LDL-C Hopkins, Apo B, and hsCRP data points set forth in

 ¶83. As demonstrated in ¶83, the biomarker results show that, contrary to expectations, the

 LDL-C derived, LDL-C Hopkins, Apo B, and hsCRP levels for patients in the placebo arm

 increased by sizeable amounts during the trial. See also NEJM Article supp. app. at 38. The

 body of the article itself stated that “[t]he median change in LDL cholesterol level from baseline

 was an increase of 3.1% (2.0 mg per deciliter [0.05 mmol per liter]) in the [Vascepa] group and

 an increase of 10.2% (7.0 mg per deciliter [0.18 mmol per liter]) in the placebo group – a 6.6%

 (5.0 mg per deciliter [0.13 mmol per liter]) lower increase with [Vascepa] than with placebo

 (P<0.001).” NEJM Article at 16.

        88.     The article also acknowledged that the mechanism(s) of action responsible for the

 purported benefit seen in the Vascepa arm “are currently not known[,]” and elaborated that the



 15
         Ischemia is a restriction in blood supply to the tissues of the body, and myocardial
 ischemia occurs when blood flow to the heart is reduced, preventing the heart muscle from
 receiving enough oxygen. See Myocardial Ischemia, Mayo Clinic (Apr. 6, 2019),
 https://www.mayoclinic.org/diseases-conditions/myocardial-ischemia/symptoms-causes/syc-
 20375417.

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 data suggests “a delayed onset of benefit, which may reflect the time that is needed for a benefit

 from a reduction in triglyceride levels to be realized or may indicate that other mechanisms are

 involved.” Id. at 21. The article set forth some possible mechanisms of benefit, positing that

 “modestly higher rate of bleeding events with [Vascepa] suggests that there may be an

 antithrombotic mechanism of action[,]” or “[i]t is possible that membrane-stabilizing effects

 could explain part of the benefit[,]” or “[s]tablization or regression of coronary plaque (or both)

 may also play a part[,]” or “[i]t is also possible that the difference in [hsCRP] level observed in

 REDUCE-IT may contribute to the benefit[.]” Id.

        89.     On November 10, 2018, Bhatt also presented the full results from the REDUCE-

 IT trial at the AHA Conference and largely reiterated the contents of the NEJM Article. See

 Deepak L. Bhatt, MD, MPH, et al., Presentation at the 2018 Scientific Sessions of American

 Heart Association, American Heart Association, (Nov. 10, 2018), available at

 https://aha.ondemand.org/aha/sessions/14120/view. During the presentation, Bhatt announced

 that the secondary endpoints, including the key secondary endpoint, showed statistically

 significant benefits in the Vascepa arm of the trial. See id. at 43. Bhatt also discussed some of

 the negative data from the REDUCE-IT trial.

        90.     First, Bhatt presented the data from baseline to the end of year 1 or year 2 for the

 key biomarkers in the trial (notably, the baseline to last visit levels were not included), including

 the LDL-C derived, Apo B, and hsCRP values. See id. at 18. Below is a copy of the slide with

 the biomarker data that Bhatt showed during his presentation, the relevant data is highlighted:




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 Id.

        91.     Second, Bhatt also disclosed during the presentation that “[p]ending questions

 include that we cannot comment on the mechanisms of benefit from this study. While there was

 a consistent benefit across baseline and achieved triglyceride levels. Detailed biomarker and

 genetic analyses are planned.” See id. The slide Bhatt showed when providing this explanation

 is set forth below:




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 Id. at 50.

         92.    Shortly after his presentation, Bhatt filmed a live video for the New England

 Journal of Medicine during which he spoke about the full results of the REDUCE-IT trial.

 During the video, Bhatt reiterated that they could not identify the mechanism(s) of action

 responsible for the purported benefit seen in the trial, stating:

         We’ve also got biomarker and genetic analyses—detailed analyses—planned,
         trying to get at what is the mechanism of benefit here. We saw reductions in
         triglycerides about 20 percent, we saw reduction in hsCRP about 22 percent, but
         the biggest change was in EPA levels, a 360 percent increase in EPA levels with
         the study group. So we’re gonna try and tease apart, for the sake of science and
         future studies, what exactly drove the benefit on multiple endpoints in this trial.

 Deepak L. Bhatt, MD, MPH, Dr. Deepak Bhatt Discusses the REDUCE-IT Trial, Live

 From AHA 2018, NEJMvideo (Nov. 10, 2018), available at https://www.youtube.com

 /watch?v=6NsUfLAy0DM.

         B.     The Market’s Reaction To the Full REDUCE-IT Trial Results

         93.    In the aftermath of the November 10, 2018 AHA Conference and NEJM

 publication detailing the full REDUCE-IT trial results, observers were quick to raise concerns

 regarding the biomarker data in the placebo arm as well as the failure to identify the

 mechanism(s) of benefit.

         94.    A November 10, 2018 Forbes article raised questions regarding the full

 REDUCE-IT trial results and expressed the dismay of several leading cardiologists regarding the

 red flags in the data. Matthew Herper, Amarin’s Fish-Oil-Derived Drug Shows Great Promise—

 With Big Caveats, Forbes Healthcare (Nov. 10, 2018), https://www.forbes.com/sites

 /matthewherper/2018/11/10/fish-oil-derived-drug-shows-great-promise--with-big-

 caveats/#2e715e0f3291 (the “Forbes Article”). Five out of six expert cardiologists surveyed in

 the Forbes Article were “seriously bothered” in the aftermath of the November 10, 2018



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 revelations because the results could have “exaggerate[ed] Vascepa’s benefits” since “[t]he

 placebo that was given in the study appears to have caused blood test changes that might have

 caused heart attacks, potentially exaggerating the medicine’s effectiveness.” Id. Moreover, the

 experts cited in the Forbes Article were at a loss as to how Vascepa actually works. Id.

        95.     The Article focused first on the placebo’s apparent impact on LDL-C and hsCRP:

        Patients who received mineral oil saw their levels of low-density lipoprotein, the
        bad cholesterol, increase 10% to 84 milligrams per deciliter, 6% more than in the
        Vascepa group, according to the New England Journal of Medicine paper.
        What’s more, other blood test results used by cardiologists also went in the wrong
        direction. These changes were included in a supplement to the scientific paper,
        but not in the study itself. Levels of c-reactive protein, a measure of inflammation
        that is used to help calculate heart risk by some doctors, increased from 2.1
        milligrams per liter to 2.8 milligrams per liter, a 30% increase.

 Id.

        96.     In regard to the third biomarker, Apo B, the article stated:

        Stein says he is worried not just about LDL and CRP but about APO-B, another
        blood test that many lipid experts believe is as much a better predictor of
        cardiovascular risk. Median APO-B levels increased from 83 mg/dL to as high as
        89 mg/dL. “My suspicion is that there is a benefit, but that it’s much more mild
        than a first-line pass at the paper would suggest because of the harm in the
        placebo arm.

 Id.

        97.     Dr. Harlan Krumholz, the Harold H. Hines, Jr. Professor of Medicine at Yale

 University, revealed that the results had caught most cardiologists by surprise, that the

 REDUCE-IT trial results could have been “a one-off chance finding[,]” and that he thought a

 second clinical trial would be needed to understand the result. Id.

        98.     Dr. Steven Nissen, chairman of cardiology at the Cleveland Clinic, explained that

 use of the mineral oil placebo was a “potential factor for driving the results that may result in an

 exaggeration of the benefits compared to what would be seen if there was a [true] placebo[.]” Id.




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        99.     Dr. Ethan Weiss, a cardiologist at UC-San Francisco, explained that the

 REDUCE-IT trial results are “missing is a mechanism for what’s going on in these biomarkers in

 the placebo side. They’re all going in the wrong direction. You can’t get beyond the argument

 that there’s some biological mechanism of the placebo. You can’t say this is an inert placebo.”

 Id.

        100.    Dr. James Stein, the Robert Turell Professor of Medicine at the University of

 Wisconsin, took a drastically different view of the REDUCE-IT trial results after the November

 10, 2018 revelations. Id. Initially believing that the REDUCE-IT trial results were a “home run”

 after the first set of results were announced in September 2018, he found that the new placebo

 revelations “turned it all on its head” and left him “really concerned” after assessing the placebo

 arm’s biomarkers. Id.

        101.    Similarly, Dr. Sekar Kathiresan, director of the Cardiovascular Disease Initiative

 at the Broad Institute and the Center for Genomic Medicine at Massachusetts General Hospital,

 changed his opinion of the REDUCE-IT trial results after the November 10, 2018 revelations.

 Besides being worried about the placebo issue, Dr. Kathiresan expressed concern that the

 mechanism(s) behind Vascepa’s ostensible benefit remains unexplained—especially given its

 reported magnitude. Id.

        102.    The Forbes Article concluded with an open question as to whether Amarin ought

 to have revealed significantly more to investors in its September 2018 press release, particularly

 about the placebo issue which so alarmed professional cardiologists. See id.

        103.    The following day, on November 11, 2018, the Company hosted a webcast to

 discuss the full data from the REDUCE-IT trial after the AHA Conference. See Transcript of

 Webcast Discussion of Primary REDUCE-IT™ Trial Results Following Presentation at 2018




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 Scientific Sessions of American Heart Association Call (Nov. 11, 2018) (on file with

 Bloomberg). During the webcast, the Company showed the same power point slides that Bhatt

 showed during his presentation, including the slides set forth in ¶¶90-91 supra which disclosed

 the negative biomarker results for the placebo arm and that the mechanism(s) of action

 responsible for the benefit could not be identified. Also during the webcast, Rebecca Juliano,

 Amarin’s VP of Clinical Research & Development repeated that “we can’t necessarily speak to

 exactly what the mechanism of action is in this study. I will note we have biomarker data that

 we have collected so we will do some interesting analyses and questions to try to get to that

 mechanism.” Id.

        104.    The Company’s webcast was followed by more critical commentary on

 November 11, 2018. An article entitled, “Amarin’s REDUCE-IT Trial: Something Fishy?” was

 written by a retired cardiologist and published on investment website Seeking Alpha. See

 DoctoRx, Amarin’s REDUCE-IT Trial: Something Fishy?, Seeking Alpha (Nov. 11, 2018),

 https://seekingalpha.com/article/4221035-amarins-reduce-trial-something-fishy. The article

 discussed at length the concerns raised by the by the biomarker results in the placebo arm which

 indicated that “the mineral oil may have harmed the health of the placebo[] group.” Id.

 Specifically, the author noted:

        I am concerned that the placebo group received an active agent that in effect was
        an anti-statin, leading to an increase in LDL and CRP levels.

        The placebo contained mineral oil, a laxative, and the placebo group had more
        diarrhea, suggesting the placebo was active; the placebo group also had more
        anemia.

        Thus I posit that it’s possible that the placebo was really a “placebo;” possibly the
        dramatic 25% reduction in MACE overstated the “true” effect[.]

 Id.




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        105.    As a result of the revelations of the aforementioned negative data at the AHA

 Conference and in the NEJM Article on Saturday, November 10, 2018, when Amarin’s shares

 resumed trading on Monday, November 12, 2018, they began to decline over the course of two

 days, falling from a close of $21.05 per share on Friday November 9, 2018, to a close of $15.38

 per share on Tuesday, November 13, 2018, a drop of $5.67 per share or 27%, on unusually high

 volume. See Amarin Corp. plc, Historical Data, Yahoo! Finance,

 https://finance.yahoo.com/quote/AMRN/history?period1=1541044800&period2=1543554000&i

 nterval=1d&filter=history&frequency=1d (last visited July 9, 2019).

 VII.   ADDITIONAL SCIENTER ALLEGATIONS

        106.    Defendants knew, or recklessly disregarded the risk that, the statements touting

 the results of the REDUCE-IT trial were misleading to Plaintiffs and the Class. Defendants

 acted with scienter by virtue of: (a) their opportunity and financial motives to commit fraud; (b)

 the fact that Vascepa was Amarin’s core (in fact its only) product and the REDUCE-IT trial was

 vital to the Company’s financial future; (c) their possession of and access to the full results from

 the REDUCE-IT trial—including the aberrations in the placebo arm—at the time the misleading

 statements were made; and (d) their knowledge and appreciation of the implications of the

 aberrations in the placebo arm of the REDUCE-IT trial data. These facts raise a compelling

 inference that Amarin and the Officer Defendants’ misleading statements and omissions of

 material facts intentionally or recklessly deceived, defrauded, and misled investors about the

 strength of the REDUCE-IT trial outcomes and the Company’s financial health.

        A.      The Individual Defendants Had the Motive and Opportunity To Commit
                Fraud

        107.    The Individual Defendants possessed the opportunity and financial motive to

 artificially inflate the price of Amarin shares, supporting the compelling inference of scienter.



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 The Individual Defendants stood to make a large sum of money if the results of the REDUCE-IT

 trial were positive, both through suspiciously timed, large ADS sales and through Amarin’s

 executive compensation plan, which tied their remuneration directly to the trial’s outcome.

                  1.     Suspicious Insider Selling

           108.   While in possession of material, non-public information, during the Class Period,

 Ketchum sold over a million Amarin ADS’s, representing 78% of his total holdings. Ketchum

 made these sales during the six-week period between when the first set of REDUCE-IT trial

 results were announced in September 2018 and when the full results were made public in

 November. Ketchum’s significant and suspiciously timed sales made him over $8.3 million in

 profit and demonstrate that he knew the full results of the REDUCE-IT trial would diminish

 Amarin’s share price.

           109.   As of September 24, 2018, the date the results were announced, Ketchum owned

 400,473 shares of Amarin ADS’s. After the announcement of the results, but before the full data

 was publicized on November 10, 2018, Ketchum exercised an option to acquire 1,153,711 shares

 of Amarin ADS’s. While the ADS’s were artificially inflated, he then sold 1,212,877 shares,

 realizing a gain of over $8.3 million. Ketchum thus sold the equivalent of 300% of his pre-Class

 Period holdings during the Class Period (or over 78% of his total holdings at the time of the

 sales).

           110.   Ketchum’s ADS sales during the Class Period were unusual in size and timing.

 Indeed, Ketchum sold no shares at all during the 47 days preceding the Class Period.16 And for

 all of 2018 prior to the Class Period, Ketchum sold only 388,185 shares, significantly less than

 his Class Period sales. Ketchum sold only 63,479 shares of Amarin stock in 2017 and no shares


 16
         The Class Period, from September 24, 2018 through and including November 9, 2018,
 totals 47 days.

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 at all in 2016. The profit Ketchum realized—over $8.3 million—was also unusual compared to

 his base compensation of $462,300. See Amarin Corp. plc, Proxy Statement (Schedule 14A) 28

 (Apr. 25, 2019).

        111.    Zakrzewski also made a large and unusual stock sale during the Class Period.

 While in possession of material, non-public information, Zakrzewski sold half a million Amarin

 ADS’s, representing over 68% of his total holdings. Zakrzewski made these sales during the six-

 week period between when the first set of REDUCE-IT trial results were announced in

 September 2018 and when the full results were made public in November. Zakrzewski’s

 significant and suspiciously timed sales made him $3.6 million in profit and demonstrate that he

 knew the full results of the REDUCE-IT trial would diminish Amarin’s share price.

        112.    As of September 24, 2018, the date the first results were announced, Zakrzewski

 owned 226,047 shares of Amarin ADS’s. After the first announcement of the REDUCE-IT trial

 results in September 2018, but before the full results were publicized in November, Zakrzewski

 exercised an option to acquire 500,000 shares of Amarin ADS’s. While the ADS’s were

 artificially inflated, he then sold all 500,000 shares, realizing a gain of over $3.6 million.

 Zakrzewski thus sold the equivalent of 200% of his pre-Class Period holdings during the Class

 Period (or over 68% of his total holdings at the time of the sales).

        113.    Zakrzewski’s ADS sales during the Class Period were unusual in size and timing.

 Zakrzewski sold no shares at all in 2018 prior to the Class Period. Additionally, Zakrzewski’s

 sale made him $3.6 million in profit, many times more than the $60,000 he made in

 compensation as a member of Amarin’s Board of Directors.

        114.    While in possession of material, adverse information, Defendant Thero sold

 622,368 shares of Amarin ADS’s. Thero made these sales during the six-week period between




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 when the first set of REDUCE-IT trial results were announced in September 2018 and when

 Amarin’s stock price substantially declined a result of the disclosure of the full results in

 November. Thero’s significant and suspiciously timed sales made him more than $11.27 million

 in profit and demonstrate that he knew the full results of the REDUCE-IT trial would diminish

 Amarin’s share price.

        115.    Thero’s ADS sales during the Class Period were unusual in size and timing.

 Thero sold 497,876 shares during the 47 days prior to the Class Period, for a profit of only

 $1,488,649.24, far less than the more than $11 million he made before the stock price declined

 on November 12-13, 2018. Thero also made over 16 times more than his 2018 base

 compensation of $664,800 in a single day.

        116.    Other high-level Amarin executives made suspiciously timed, large ADS sales

 during the Class Period as well.

        117.    Joseph T. Kennedy, Amarin’s General Counsel, owned 217,934 shares on

 September 24, 2018. He exercised an option to acquire 1,179,757 shares during the Class Period

 and sold them all—over 84% of his total holdings—making over $10.6 million in profit.

        118.    Kennedy’s ADS sales during the Class Period were unusual in size and timing.

 Kennedy sold no shares at all during the 47 days prior to the Class Period. And for all of 2018

 prior to the Class Period, he sold only 263,150 shares for profits of $928,483—substantially less

 than his Class Period sales.

        119.    Michael Wayne Kalb, Amarin’s Chief Financial Officer, sold 150,000 shares—

 over 90% of his total holdings—during the Class Period, realizing $1.2 million in profit.

        120.    Kalb’s ADS sales during the Class Period were unusual in size and timing. He

 sold no shares at all during the 47 days prior to the Class Period. And for all of 2018 prior to the




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 Class Period, he sold only 14,404 shares for profits of $53,635—substantially less than his Class

 Period sales.

        121.     At the same time Amarin and the Officer Defendants were telling investors that

 the REDUCE-IT trial was an unqualified success and concealing material information to the

 contrary, Thero, Ketchum, Zakrzewski, and other Amarin executives offloaded over three

 million shares of Amarin ADS’s, banking over $34 million in profit, all before Amarin’s share

 price declined as a result of the announcement of the full data from the REDUCE-IT trial. These

 sales support the compelling inference that Amarin intentionally withheld material information

 about the REDUCE-IT trial results to artificially inflate Amarin’s share price, defrauding

 investors such as Plaintiffs and Class members.

                 2.     Amarin’s Executive Compensation Plan

        122.     Several of the Officer Defendants were also motivated to commit fraud with

 respect to the REDUCE-IT trial results to enhance their executive compensation.

        123.     As Amarin executives, Thero’s and Ketchum’s compensation was directly linked

 to the success of the REDUCE-IT trial. In addition to awards of stock options, Amarin’s

 Executive Compensation Plan incentivized executives through cash bonuses. In 2018, Amarin

 executives, such as Thero and Ketchum, were promised a cash bonus equivalent to 50% of their

 salary if the REDUCE-IT trial achieved a 20% or higher relative risk reduction for its primary

 endpoint, pursuant to a “Pre-Specified ‘Stretch’ Goal.” Amarin Corp. plc, Proxy Statement

 (Schedule 14A) 35 (April 25, 2019).

        124.     According to Amarin’s 2019 Proxy Statement, Amarin’s Board of Directors

 approved four categories of “2018 Corporate Goals,” and relative weighting, for purposes of

 calculating executive cash bonuses: “Commercial (40%); “Quality & Supply (10%)”; “Financial




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 and Public Relations/Investor Relations (20%)”; and a goal tied to finalizing and publishing the

 results from the REDUCE-IT trial, weighted at 30% of base salary. Id.

        125.        In addition, the Board set a “Pre-Specified ‘Stretch’ Goal: REDUCE-IT: Achieve

 20% or more in relative risk reduction for primary endpoint,” weighted at 50% of the executive’s

 base salary. Id.

        126.    Thero received a $249,300 cash bonus award in connection with the Company’s

 “achievement of the pre-defined REDUCE-IT stretch goal,” and $473,670 in connection with the

 2018 Corporate Goals. Id. at 37.

        127.    Ketchum received a $92,460 cash bonus award in connection with the Company’s

 “achievement of the pre-defined REDUCE-IT stretch goal,” and $177,986 in connection with the

 2018 Corporate Goals and his individual goals. One of Ketchum’s individual goals was to

 “[w]ork with REDUCE-IT steering committee and medical affairs team to secure publication of

 REDUCE-IT results in top-tier journal in parallel with late breaker presentation in the fourth

 quarter of 2018.” Id. Achievement of this goal would necessarily have required Ketchum to

 review the data he was tasked with publishing.

        B.      Vascepa Is Amarin’s Core and Only Product

        128.    Amarin sells a single product: Vascepa. As Amarin has acknowledged in its

 public filings, the Company relies on Vascepa as its “lead product.” Amarin Corp. plc., Annual

 Report (Form 10-K) 2 (Feb. 27, 2019); see also id. at 6 (“Since our inception, we have devoted

 substantial resources to the research and development of Vascepa (icosapent ethyl) capsules.”).

        129.    Amarin’s main growth strategy has always been to market its single product to a

 larger patient population. At the time Amarin undertook the REDUCE-IT trial, Vascepa was

 (and still is) approved for a single indication, to lower triglyceride levels in people with severe

 hypertriglyceridemia. Roughly 4 million people in the United States have severe


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 hypertriglyceridemia, so with this single indication, Vascepa is marketable to a patient

 population of about 4 million persons domestically. See Amarin Corp. plc, Current Report (Form

 8-K) (July 27, 2012). By way of comparison, one in four people in the United States have high

 (but not very high) cholesterol. If it could portray Vascepa as useful for improving outcomes for

 high cholesterol patients, Amarin would have access to a potential patient population of over 70

 million people in the United States—approximately 17 times larger than its current market. See

 Press Release, Amarin Corp., plc, Amarin Commences 2012 with Letter to Shareholders (Jan. 3,

 2012).

          130.   Beginning with the ANCHOR trial in 2011, Amarin set its sights on the

 population of tens of millions of people with high cholesterol. But after the ANCHOR trial

 results failed to convince the FDA to approve Amarin’s application for an expanded indication

 for Vascepa, the REDUCE-IT trial was the key to accessing this exponentially larger patient

 population. Amarin sought not only to obtain FDA approval, but also to convince physicians

 and the public that Vascepa would be highly effective at improving cardiac outcomes for high

 cholesterol patients.

          131.   Amarin’s future success was thus highly dependent on the results of the

 REDUCE-IT trial.

          132.   The REDUCE-IT trial was massive in both expense and scope. The Company

 expended $35 to $60 million annually to complete the trial—a significant sum for a company

 with approximately $180 million in annual revenue in 2017. See Amarin Corp. plc, Annual

 Report (Form 10-K) 61 (Feb. 27, 2018). In total, the REDUCE-IT trial cost over $300 million to

 perform. See Amarin Corp. plc, Current Report (Form 8-K) (Nov. 13, 2018).




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        133.    Amarin had never undertaken a study of Vascepa anywhere near the size or scope

 of the REDUCE-IT trial. The two previous studies, MARINE and ANCHOR had lasted twelve

 weeks; the REDUCE IT trial took over eight years. ¶¶37, 42, 45. Amarin had also hyped the

 REDUCE-IT trial and its potential for the Company to investors for years.

        134.    In short, the future financial prospects of the Company were riding on the

 outcome of the REDUCE-IT trial. The Individual Defendants, as executives and directors at the

 Company were actively involved in and aware of the details of the pivotal trial. The Company’s

 executives, including Thero, Ketchum, and Granowitz, discussed this information in press

 releases and on conference calls with analysts and investors.

        135.    As CEO, Thero was responsible for, and exercised control over, the Company.

 Thero was the Company’s President and CFO from November 5, 2009 through December 2013.

 On January 1, 2014, he replaced Zakrzewski as CEO. Thero thus knew of Amarin’s financial

 prospects and drug development activities, and spent years speaking on behalf of Amarin to the

 investing public about Amarin’s financial status as well as the Phase 3 trial program for Vascepa.

 See Amarin Corp. plc, Proxy Statement (Schedule 14A) 5, 7 (Apr. 20, 2018).

        136.    Ketchum has been the Company’s Senior Vice President and President of

 Research and Development since February 2012 and Amarin’s CSO since January 2016.

 According to the employment agreement between Amarin and Ketchum dated February 12,

 2012, he was an executive officer responsible for Amarin’s research and development efforts.

 As the Company’s Senior Vice President, President of Research and Development, and CSO he

 spoke on behalf of Amarin to the investing public providing information on matters relating to

 research and development, including Amarin’s progress in the development and testing of

 Vascepa, and was the principal liaison with the FDA.




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        137.    Granowitz has been the Company’s Senior Vice President and CMO since

 January 2016. As the Company’s Senior Vice President and CMO he spoke on behalf of Amarin

 to the investing public providing information on matters relating to research and development,

 including Amarin’s Phase 3 trial program of Vascepa.

        138.    Zakrzewski was Amarin’s CEO from November 2010 to December 2013 and has

 been a member of Amarin’s board of directors since January 2010. By virtue of his position as

 CEO in 2013, Zakrzewski was aware of the issues raised by the FDA regarding the placebo arm

 in the ANCHOR trial, and by virtue of his role as a named defendant, Zakrzewski was aware of

 the allegations in the Sklar Action. As a director during the Class Period, Zakrzewski was

 responsible for overseeing Amarin’s finances and operations, including any important

 developments in the clinical trial program for the Company’s only product.

        C.      Defendants Had Analyzed the Full Data Set from the REDUCE-IT Trial by
                the Time Amarin Announced the Trial’s Results on September 24, 2018

        139.    As described above, publicizing only the efficacy results that claimed a 25%

 reduction of major adverse cardiovascular events on top of statin therapy was false and

 misleading. The full dataset revealed important information that contradicted and provided

 important qualification as to that claim, including that: (1) the full REDUCE-IT data revealed no

 causal connection between Vascepa lowering triglyceride levels and the purported cardiac

 benefits—this meant it was simply “not known” how Vascepa could be generating positive

 efficacy results, and Amarin could not explain how its product worked without resorting to

 speculation about alternative causal mechanisms, increasing the likelihood that the result was

 just a fluke occurrence, indicating further studies would be needed to determine the mechanism

 of action, and hindering doctors’ ability to prescribe the drug, thereby potentially reducing the

 adoption rate by physicians and the commercial prospects for Vascepa; and (2) the mineral oil



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 placebo may have caused the LDL-C derived, LDL-C Hopkins, Apo B, and hsCRP levels for

 patients in the placebo arm to increase by sizeable amounts during the trial, thereby potentially

 raising the rate of major cardiovascular events in the control group and thus exaggerating

 Vascepa’s efficacy—at the very least, it called into question the proclaimed results of a 25% in

 cardiac outcomes.

        140.    As of September 24, 2018, when Amarin and the Officer Defendants announced

 the REDUCE-IT trial’s efficacy results, Defendants had already analyzed the full REDUCE-IT

 trial data and thus knew that publicizing the results without important caveats would likely

 mislead investors. Defendants nevertheless chose to conceal from investors the key qualifying

 information contained in the full data.

        141.    By virtue of their positions and responsibilities at the Company, the Individual

 Defendants had access to the full analyzed data as soon as it was completed—days or weeks

 before the announcement on September 24, 2018.

        142.    Indeed, in June 2018, the Company explained that it maintains a central, internal

 database that contains a compilation all of the REDUCE-IT trial data. ¶69. At that time, the

 Company disclosed that once the trial data in the database has been fully synthesized, “Amarin

 and a team of experts plan to confidentially review, and analyze the data” before it is announced

 to the public. Id.

        143.    Amarin and the Officer Defendants’ public statements confirm that the Company

 had the full data when Amarin announced the results on September 24, 2018.

        144.    As CSO, Ketchum had the full analyzed data from the REDUCE-IT trial as soon

 as it was available. Ketchum was the internal lead in charge of the REDUCE-IT trial, and

 supervised the team responsible for preparing the data for presentation. Ketchum was thus one of




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 the first, if not the first, Amarin employee (in addition to Thero, Amarin’s CEO) to obtain the

 full results. Ketchum said as much on a conference call on September 24, 2018, when he touted

 the “very positive” results and said they were “representative of an overall robust study result”

 and said “[w]e are very eager to share REDUCE-IT data in greater detail with both the medical

 and regulatory communities.” Transcript of Vascepa REDUCE-IT Study Result Call (Sept. 24,

 2018) (on file with Bloomberg).

        145.    During that same conference call, Thero and Ketchum indicated that they had

 reviewed the entire data set, but explained that they were withholding the remaining results for

 the forthcoming AHA Conference presentation and a peer-reviewed journal article. Id. at 5-8, 10,

 12. This included statements to the effect that the Company was not yet “disclosing additional

 details,” and that they would not yet “talk too much about the results of the REDUCE-IT study

 because we are saving those further details for presentation.” Id. at 6, 10-11. Yet they assured

 the market that the remaining data was positive, showing “robust demonstrations of efficacy

 across multiple secondary endpoints.” Id. at 5-6.

        146.    Thero made similar statements during a presentation at the Cantor Fitzgerald

 Global Healthcare Conference held on October 3, 2018, indicating that while Defendants had

 access to the full data, they were not ready to share it with the public:

        “So before we had results from the study we spoke with our PI, we spoke with
        American Heart Association, we spoke with various journals who were interested
        in publishing this [indiscernible] type study and told them that we have to - we owe
        it to our stakeholders to describe some information in advance. They insisted that
        we hold back certain information for them. While, we have disclosed this on this
        slide and that is that we – that’s the primary endpoint of the study which was again,
        relative risk reduction on that composite MACE endpoint that I described earlier.
        Our target had been 15% relative risk reduction, we achieved 25% relative risk
        reduction. And we did that with the p value which was statistically significant p
        less than 0.001. We also without providing quantification indicated that the
        underlying data is supportive of that primary result. We will have more to report
        on that that [sic] at the American Heart Association and our principal investigator,



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        Deepak Bhatt from Brigham and Women’s has expressed that he’s very much
        looking forward to that presentation at the American Heart Association.”

 Transcript of Amarin Corporation PLC’s CEO John Thero’s Presentation at Cantor Global

 Healthcare Conference (Oct. 3, 2018) (on file with Seeking Alpha) (emphasis added).

        147.    During the question and answer portion of the presentation, Thero made clear that

 he and the Company had more information than they were releasing publicly, encouraging

 analysts to “pay attention at AHA.” Id.

        148.    On a conference call on November 1, 2018, Thero again touted the results while

 acknowledging that the Company had a fuller set of data that it was not yet sharing publicly:

 “[W]e are looking forward to presenting the results in detail at the American Heart Association,

 and we think that those details will be helpful to physicians in the end, I think the same people

 hopefully will remember it’s a 25% reduction, but people seeing the results will give them

 confidence in the meaning of that 25%.” Transcript of Amarin’s Q3 2018 Earnings Call (Nov. 1,

 2018) (on file with Bloomberg).

        149.    Amarin and the Officer Defendants’ statements revealing that they already had

 the fuller set of data before publicizing the results are consistent with basic facts about clinical

 study results and the corresponding data analysis. In order to calculate the results that they

 ultimately published, Defendants necessarily would have had to look at and analyze a variety of

 data from the study, including from the placebo group. Considerable review, analysis, and

 calculations of the underlying data is necessary, in other words, to generate the results that

 Amarin and the Officer Defendants ultimately chose to publicize.

        150.    Notwithstanding any statements to the contrary by Thero, Ketchum, and others

 inside the Company, the New England Journal of Medicine does not have an editorial policy

 prohibiting verbal disclosures of information about a study’s results before a related article is to



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 be published in the journal. Alex Lombino, Senior Editorial Assistant at the New England

 Journal of Medicine confirmed this point in a telephone conversation, saying that the Journal’s

 embargo policy prohibits authors from providing written materials about the trial’s results before

 the publication in the Journal. Lombino said the Journal’s policy does not embargo verbal

 communications about trial results and that doctors are permitted to discuss and present any of

 the results of the trial before the publication.

           151.   As well, under the AHA’s embargo policy, a company may release information

 about a study prior to the embargo if it notifies AHA in advance regarding the legal rationale for

 disclosing the information and explains to whom and how the information would be released.

 Embargo Policy, American Heart Association, https://newsroom.heart.org/policies/embargo-

 policy#ineligible (last visited July 18, 2019). AHA then will determine whether the study shall

 remain on the program of an AHA meeting or be published in an AHA scientific journal. Id.

 Thus, while Amarin and the Officer Defendants could have easily followed the aforementioned

 procedures to disclose the placebo and mechanism of action data on September 24, 2018, they

 were instead motivated to conceal the negative data in order to prevent AHA from cancelling the

 Scientific Sessions presentation. As detailed above, Amarin and the Officer Defendants had

 multiple opportunities to provide the necessary qualifications to avoid misleading investors yet

 chose not to do so.

           152.   At the very least, had Defendants not reviewed the full dataset about which they

 spoke at length during the Class Period, they were deliberately reckless in making statements

 about such data when they could have easily reviewed it in the database to which they had

 access.




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        D.      Defendants Knew that Publicizing Only Limited Results Would Provide
                Incomplete and Misleading Information to Investors

        153.    There can be little doubt that Defendants knew the importance of (i) the lack of an

 explained causal mechanism for Vascepa improving cardiac outcomes; and (ii) the use of a non-

 inert placebo that, among other things, raised the LDL cholesterol in the control arm patients.

        154.    Amarin and the Officer Defendants’ choice to discuss these issues in the first

 public presentation of the full REDUCE-IT trial at the AHA Conference on November 10, 2018,

 confirms that Defendants were aware they were important.

        155.    At the Conference, the presenters raised the issues affirmatively and included

 them in the investor slides that accompanied the presentation. Without prompting, Rebecca

 Juliano, Amarin’s Vice President of Clinical Research and Development conceded, “we’ve had

 mineral oil questions really from our early days of the ANCHOR study.” Transcript of Amarin

 Presentation of REDUCE-IT Trial Results at the American Heart Association Conference,

 November 10, 2018 (on file with Bloomberg) at 8. This is consistent with Ketchum’s statement

 back in October 16, 2013, quoted above, acknowledging in the aftermath of the ANCHOR study

 that “the possibility of some type of inhibition of statin absorption” by the mineral oil placebo is

 “obviously important.” Supra ¶57.

        156.    At the AHA Conference, Juliano also affirmatively revealed that Amarin could

 not explain the mechanism by which Vascepa lowered MACE, admitting, “we can’t necessarily

 speak to exactly what the mechanism of action is in the study.” Transcript of Amarin

 Presentation of REDUCE-IT Trial Results at the American Heart Association Conference,

 November 10, 2018 (on file with Bloomberg) at 9.

        157.    The presentation’s focus on these major qualifications were consistent with the

 publication of the full results in the New England Journal of Medicine. Although the article



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 contained a wide variety of data points in the results, the authors chose to focus in particular on

 “certain limitations” of the trial, including that “if mineral oil in the placebo affected statin

 absorption in some patients, this might have contributed to differences in outcomes between the

 groups.” NEJM Article at 21.. The article also highlighted the fact that the lower risks of cardiac

 events seen in those on Vascepa “appeared to occur irrespective of the attained triglyceride level

 … which suggests that the cardiovascular risk reduction was not associated with attainment of a

 more normal triglyceride level.” Id. In other words, there was no indication that the improved

 patient outcomes were resulting from the mechanism by which Amarin believed Vascepa

 functioned. As the article put it, “Mechanisms responsible for the benefit of icosapent ethyl

 [Vascepa] observed in REDUCE-IT are currently not known.” Id.

         158.    Consistent with both the Company’s recognition that these issues needed to be

 addressed, and the article’s authors’ recognition that these issues needed to be addressed, the

 Forbes Article (discussed in ¶¶94-102 supra) published the same day noted that five out of six

 cardiologists interviewed about the full REDUCE-IT results were “seriously bothered” by the

 fact that the mineral oil given to the control group “had not behaved as a placebo at all.”

 Matthew Herper, Amarin’s Fish-Oil-Derived Drug Shows Great Promise—With Big Caveats,

 Forbes Healthcare (Nov. 10, 2018), https://www.forbes.com/sites

 /matthewherper/2018/11/10/fish-oil-derived-drug-shows-great-promise--with-big-

 caveats/#2e715e0f3291. Rather, as the doctors noted, the patients who received the mineral oil

 saw a 10% increase in their LDL levels—6% more than in the Vascepa group. Other indicators

 of heart health risks, hsCRP and Apo-B levels, also went up by statistically significant amounts

 in the control group, leading cardiologists to change their position from positive about Vascepa

 to having doubt. The cardiologists worried that the biomarkers in the control group were “all




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 going in the wrong direction,” which lead the article’s author to wonder: “Could the placebo be

 causing some heart problems or strokes, making Vascepa look better than it really is?”

         159.    Although some cardiologists interviewed by Forbes about the REDUCE-IT

 results characterized the top line results as just “an exaggeration of [Vascepa’s] benefits

 compared to what would be seen if there was a [true] placebo,” others who had been “floored”

 by the 25% relative risk reduction announced in the top-line results, said the placebo issue

 “turned it all on its head.” Id.

         160.    After looking at the full REDUCE-IT data (for only one day), the cardiologists

 quoted in the Forbes Article also worried about the confusion surrounding how Vascepa actually

 works. Harlan Krumholz, a professor of medicine at Yale University, said he thought a second

 clinical trial would be needed to understand the results. Another physician, Ethan Weiss, a

 cardiologist at UC-San Francisco, said, “what we’re missing is a mechanism for what’s going on

 in these biomarkers in the placebo side. They’re all going in the wrong direction. You can’t get

 beyond the argument that there’s some biological mechanism of the placebo. You can’t say this

 is an inert placebo.”

         161.    Nor was the mineral oil placebo concern new for Amarin. The FDA had

 scrutinized Amarin’s use of the mineral oil placebo for years. See ¶¶50-56, 63 supra. The FDA

 had previously raised this issue with Amarin in connection with the earlier ANCHOR trial. See

 Transcript of Endocrinologic and Metabolic Drugs Advisory Committee Meeting (Oct. 16, 2013)

 (on file with the FDA). Early in the REDUCE-IT trial, the FDA had even gone so far as to direct

 investigators conducting the trial to monitor for signals that the mineral oil placebo might not be

 inert, which they did quarterly. Id. at 140-141.




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        162.    Consistent with the above, Thero and Ketchum were advised years earlier by the

 FDA during the ANCHOR trial that mineral oil may not be biologically inert. In connection with

 the ANCHOR trial there were discussions about whether the use of a mineral oil placebo could

 artificially exaggerate the clinical effect of Vascepa. Ketchum had first-hand knowledge of the

 potential ramifications that aberrations in the placebo arm could have with the FDA, as he was

 primarily responsible for liaising with the FDA during the ANCHOR trial. Ketchum also

 participated in a 2013 hearing with the FDA in connection with the ANCHOR trial during which

 several FDA commissioners raised concerns that the mineral oil placebo was not inert and

 ultimately voted not to approve the expanded indication for Vascepa. See id.

        163.    Concerns about Amarin’s use of mineral oil as a placebo thus materialized

 following each significant achievement with Vascepa. In 2013, in connection with the

 ANCHOR trial, the FDA briefing documents raised questions about the mineral oil placebo used

 in the ANCHOR trial intended to support the expanded approval, thereby potentially negatively

 impacting the control group data, and suggesting that “the treatment effects observed with

 [Vascepa] may be overestimated.” See Mineral Oil and Inertness Issue, EPA Drug Initiative,

 http://epadruginitiative.com/files/Mineral_Oil_and_Placebo_Inertness_Issue.pdf (last visited

 July 22, 2019).

        164.    Thero and Ketchum were all executives with the Company at the time of the

 ANCHOR study and the prior securities class action was filed in this District alleging various

 false statements to investors surrounding Vascepa, including statements regarding the use of

 mineral oil placebo in the ANCHOR trial. Granowitz joined the Company a year before the case

 was finally dismissed. That case included allegations that witnesses at Amarin involved in the

 ANCHOR trial brought the aberrations to the attention of executives at Amarin, including the




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 Head of Development and the Head of Operations. The witness was told that Amarin would not

 change the study because the budget and timeline were more important than scientific integrity.

 In its Briefing Document to the Advisory Committee dated October 11, 2013, and at the

 Advisory Committee meeting itself, the FDA revealed it shared the witness’s concern that

 mineral oil was not inert and stated that it had met with Amarin to discuss the issue in advance of

 the Advisory Committee hearing. Thus, Defendants knew at the time the REDUCE-IT results

 became available that any data suggesting concerns with the mineral oil placebo would be

 important to the public and investors and would need to be made public to avoid creating a

 misleading perception about the trial’s results.

        165.    In fact, Amarin’s 2018 10-K filing formally acknowledged the importance of

 mineral oil as a placebo in the REDUCE-IT trial as in prior trials:

        “[D]uring the public advisory committee meeting held by FDA as part of its
        review of our ANCHOR sNDA, a discussion regarding observed, nominally
        statistically significant changes from baseline in an adverse direction, while on
        background statin therapy, in certain lipid parameters, including triglycerides, in
        the placebo group, raised questions about the possibility that the mineral oil
        placebo used in the ANCHOR trial (and in the REDUCE-IT trial) might not be
        biologically inert and might be viewed as artificially exaggerating the clinical
        effect of Vascepa when measured against placebo in the ANCHOR trial.
        Ultimately, no strong evidence for biological activity of mineral oil was identified
        by the FDA before its approval of Vascepa after review of the MARINE and
        ANCHOR trials and consideration of other data regarding mineral oil. … Despite
        the currently positive disposition of this matter, it illustrates that concerns such
        as this may arise in the future that could affect our product development,
        regulatory review or the public perception of our products and our future prospects.

 Amarin 2018 10-K, February 27, 2019 (emphasis added). Yet despite expressly acknowledging

 the material risk of concerns that the mineral oil may not be inert in the REDUCE-IT trial, when

 Defendants obtained the results of that trial which bore out those concerns, they concealed those

 facts during the Class Period and instead presented the misleading results only.




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        E.      SOX Certifications

        166.    In the Certification Pursuant to Sections 302 and 906 of the Sarbanes-Oxley Act

 of 2002 he submitted on November 1, 2018, with the Company’s Form 10-Q defendant Thero

 represented that (i) he had reviewed the Company’s filing; (ii) the report did “not contain any

 untrue statement of material fact or omit to state a material fact necessary to make the statements

 made . . . not misleading”; and (iii) the “information included in this report, fairly present in all

 material respects the financial condition, results of operations and cash flows of the [Company].”

        167.    Thero’s possession of the full analyzed REDUCE-IT trial data set, and

 appreciation of the aberrations in the placebo arm of the data, as described herein, suggests that

 Thero either was reckless in making his Sarbanes-Oxley certification, or had actual knowledge

 that the filing did in fact contain untrue statements of material fact or omit to state material facts

 necessary to make the statements not misleading.

 VIII. CLASS ACTION ALLEGATIONS

        168.     Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3). Plaintiffs bring claims arising under the Exchange Act on behalf of

 themselves and all other persons and entities who purchased Amarin ADS between September

 24, 2018, and November 9, 2018, inclusive, and who were damaged thereby (the “Class”).

 Excluded from this Class are (i) Defendants, (ii) the officers and directors of each Defendant,

 (iii) any entity in which Defendants have or had a controlling interest, (iv) members of

 Defendants’ immediate families and the legal representatives, heirs, successors or assigns of any

 such excluded party, and (v) any judge presiding over this matter, his or her spouse, and all

 persons within the third degree of relationship to either of them and the spouse of such persons.

        169.    Numerosity: The members of the Class are so numerous that joinder of all

 members is impracticable. While the exact number of Class members is unknown to Plaintiffs at


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 this time, it can be ascertained through discovery, and Plaintiffs believe that there are thousands

 of Class members. Throughout the Class Period, the Amarin ADS’s at issue traded in an

 efficient market. Record owners and other members of each Class may be identified from

 records maintained by Amarin or its transfer agents and may be notified of the pendency of this

 action by mail, using a form of notice similar to that customarily used in securities class actions.

        170.    Commonality and predominance: Common questions of law and fact exist as to

 all Class members and predominate over any questions solely affecting individual members of

 the Class. Common questions include whether:

        a.      Defendants’ acts and omissions violated the Exchange Act;

        b.      Documents, press releases, and other statements disseminated to the investing

                public and Amarin’s shareholders omitted material facts about Vascepa’s

                REDUCE-IT trial results and the business and financial condition of Amarin;

        c.      The market price of Amarin’s ADS’s was artificially inflated due to the material

                misrepresentations and failures to disclose material facts as described in this

                Complaint; and

        d.      Whether members of the Class have sustained damages (and, if so, what the

                proper measure of damages should be).

        171.    Typicality: Plaintiffs’ claims are typical of the claims of the other members of the

 Class, as all Class members were similarly affected by Defendants’ wrongful conduct in

 violation of federal law.

        172.    Adequacy: Plaintiffs will fairly and adequately protect the interests of the

 members of the Class because their interests do not conflict with the interests of the members of




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 the Class the seek to represent. Plaintiffs have retained counsel competent and experienced in

 class and securities litigation.

         173.    Superiority: A class action is superior to all other available methods for the fair

 and efficient adjudication of this controversy since joinder of all members is impracticable.

 Furthermore, as the damages suffered by individual Class members may be relatively small, the

 expense and burden of individual litigation make it impossible for members of the Class to

 individually redress the wrongs done to them. Even if Class members themselves could afford

 such individualized litigation, the court system could not. In addition to the burden and expense

 of managing many actions arising from this issue, individualized litigation presents a potential

 for inconsistent or contradictory judgments. Individualized litigation increases the delay and

 expense to all parties and the court system caused by analyzing and interpreting the legal and

 factual issues of the case. By contrast, a class action presents far fewer management difficulties

 and provides the benefits of single adjudication, economies of scale, and comprehensive

 supervision by a single court. There will be no difficulty in the management of this suit as a

 class action.

         174.    In the alternative, the proposed Class may be certified because:

         a.      The prosecution of separate actions by the individual members of the proposed

                 Class would create a risk of inconsistent adjudications, which could establish

                 incompatible standards of conduct for Defendants;

         b.      The prosecution of individual actions could result in adjudications that, as a

                 practical matter, would be dispositive of the interests of non-party Class members

                 or which would substantially impair their ability to protect their interests; and




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        c.      Defendants have acted or refused to act on grounds generally applicable to the

                proposed class, thereby making appropriate final relief with respect to the

                members of the proposed Class as a whole.

 IX.    LOSS CAUSATION

        175.    Amarin and the Officer Defendants’ unlawful omissions directly and proximately

 caused the economic losses sustained by Plaintiffs and Class members.

        176.    Amarin and the Officer Defendants’ omissions caused and maintained the

 artificial inflation in the Amarin share price throughout the Class Period. When Plaintiffs and

 Class members purchased their Amarin ADS’s, their true value was substantially lower than the

 prices Plaintiffs and Class members paid. As a result of the open, well-developed, and efficient

 market for Amarin ADS’s, the prices of Amarin ADS’s fell when the above-described omissions

 (and their effects) were revealed to investors and the artificial inflation was removed over time

 from the price of Amarin shares.

        177.    Without knowing the misleading nature of the statements and documents

 discussed, or the undisclosed information known to Defendants, Plaintiffs and Class members

 relied to their detriment on these statements in purchasing Amarin ADS’s at artificially inflated

 prices during the Class Period.

        178.    The omissions created in the market an unrealistically positive assessment of

 Amarin, causing its share prices to be overvalued during the Class Period. Once the facts and

 risks concealed by Defendants came to light, the price of ADS’s dropped, proximately causing

 damage to Plaintiffs and Class members.

        179.    Plaintiffs’ and Class members’ purchases at artificially inflated prices, measured

 by the difference between the market price and the actual value of the ADS’s at the time of

 purchase, caused damage to Plaintiffs and Class members.


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        180.    The truth regarding Amarin ADS’s was revealed, and/or the concealed risks

 materialized, on or about November 10, 2018. As a direct result of this disclosure, the price of

 Amarin ADS’s declined precipitously on unusually heavy trading volume.

        181.    On November 10, 2018, Amarin was forced to disclose that their Class Period

 representations regarding the REDUCE-IT trial omitted material facts about the results,

 including: (i) the placebo used in the study may have, inter alia, raised cholesterol levels in the

 control arm, which likely exaggerated the clinical effects of Vascepa; and (ii) the Company

 could not explain the mechanism(s) by which the drug achieved its end-point results.

        182.    As a direct result of Amarin’s admissions and the public revelations on November

 10, 2018, regarding the falsity of Amarin and the Officer Defendants’ Class Period

 representations about the REDUCE-IT study, Amarin’s share price plummeted 27% on

 unusually high trading volume, falling from $21.05 to $15.38 in two days.

 X.     THE FRAUD ON THE MARKET PRESUMPTION

        183.    Plaintiffs are entitled to a presumption of reliance as to Amarin and the Officer

 Defendants’ material omissions pursuant to the fraud-on-the-market doctrine.

        184.    As a result of Amarin and the Officer Defendants’ materially misleading

 statements and omissions, Amarin shares traded at artificially inflated prices during the Class

 Period. On November 5, 2018, Amarin ADS’s closed at a Class Period high of $22.98 per share.

 Plaintiffs and other members of the Class purchased or otherwise acquired the shares relying on

 the integrity of the market price of such shares and on publicly available market information

 relating to Amarin; Plaintiffs and Class members have been damaged thereby.

        185.    During the Class Period, the artificial inflation of the value of Amarin ADS’s was

 caused and sustained by the omissions alleged in this Complaint, thereby causing the damages

 sustained by Plaintiffs and other Class members. As alleged, during the Class Period, Amarin


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 and the Officer Defendants’ misleading statements and omissions caused the price of Amarin

 ADS’s to be artificially inflated. When the truth was disclosed, it drove down the value of

 Amarin ADS’s, causing Plaintiffs and other Class members that had purchased the shares at

 artificially inflated prices to be damaged as a result.

        186.    At all relevant times, the market for Amarin ADS’s was open, well-developed,

 and efficient, for reasons that include:

        a.      Amarin ADS’s met the requirements for listing, and was listed and actively traded

                on the NASDAQ Global Market, a highly efficient and automated market;

        b.      As a regulated issuer, Amarin filed periodic public reports with the SEC;

        c.      Amarin regularly and publicly communicated with investors via established

                market communication mechanisms, including through regular disseminations of

                press releases on the national circuits of major newswire services and through

                other wide-ranging public disclosures, such as communications with the final

                press and other similar reporting services; and

        d.      Amarin was followed by securities analysts employed by major brokerage firm(s)

                who wrote reports which were distributed to the sales force and certain customers

                of their respective brokerage firm(s). Each of these reports was publicly available

                and entered the public marketplace.

        187.    As a result of the foregoing, the market for Amarin ADS’s promptly digested

 current information regarding Amarin from all publicly available sources and reflected such

 information in the inflated price of Amarin ADS’s during the Class Period. Under these

 circumstances, all members of the Class suffered similar injury through their purchase of Amarin

 ADS’s at artificially inflated prices on which they relied, and the presumption of reliance applies.




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        188.    In the alternative, a class-wide presumption of reliance is also appropriate in this

 action under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406

 U.S. 128 (1972), to the extent that Amarin and the Officer Defendants’ statements during the

 Class Period involved omissions of material facts.

        189.    Because this action involves Amarin and the Officer Defendants’ failure to

 disclose material adverse information regarding the REDUCE-IT trial results, including that the

 mineral oil placebo caused aberrations in the placebo arm, likely exaggerating the clinical

 efficacy of Vascepa, and that the Company could not be explained the mechanism by which the

 drug achieved its end-point results—information that Amarin and the Officer Defendants were

 obligated to disclose—positive proof of reliance is not a prerequisite to recovery.

        190.    All that is necessary is that the facts withheld be material in the sense that a

 reasonable investor would have considered them important in making investment decisions.

 Given the importance of the REDUCE-IT trial and its results to Amarin’s overall financial

 prospects, that requirement is satisfied here.

 XI.    NO STATUTORY SAFE HARBOR

        191.    The statutory safe harbor or bespeaks caution doctrine applicable to forward-

 looking statements under certain circumstances do not apply to any of the false and misleading

 statements pleaded in this Complaint. None of the statements complained of was a forward-

 looking statement. Rather, they were historical statements or statements of purportedly current

 facts and conditions at the time the statements were made, including statements about the nature

 of Amarin’s REDUCE-IT Vascepa results and the viability of its Vascepa drug. Moreover, the

 statutory safe harbor does not apply to statements included in financial statements that purport to

 have been prepared in accordance with GAAP.




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          192.   To the extent that any of the misleading statements alleged herein can be

 construed as forward-looking, those statements were not accompanied by meaningful cautionary

 language identifying important facts that could cause actual results to differ materially from

 those in the statements. As detailed above, then-existing facts contradicted Amarin and the

 Officer Defendants’ statements regarding the nature of the REDUCE-IT trial results and the

 viability of its Vascepa drug, among others. Given the then-existing facts contradicting Amarin

 and the Officer Defendants’ statements, any generalized risk disclosures made by Amarin were

 not sufficient to insulate them from liability for their materially false and misleading statements.

 Further, any cautionary language was not extensive, specific, or directly related to the false and

 misleading statements alleged.

          193.   To the extent that any misleading statements pleaded herein are forward-looking,

 Amarin and the Officer Defendants are liable for those statements because at the time each of

 those statements was made, the particular speaker knew the particular forward-looking statement

 was misleading, and the misleading forward-looking statement was authorized and approved by

 an executive officer of Amarin who knew that the statement was misleading when made. As

 described above, these misleading statements were material to investors. Amarin and the Officer

 Defendants did not identify each oral or written statement identified as forward-looking.

 XII.     CAUSES OF ACTION

                                        FIRST COUNT
                      Violation of Section 10(b) of The Exchange Act and
        Rule 10b-5 Promulgated Thereunder Against Amarin and the Officer Defendants

          194.   Plaintiffs repeat and reallege the allegations set forth above.

          195.   Plaintiffs assert this claim against Amarin and the Officer Defendants on behalf of

 Plaintiffs and the proposed Class.




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        196.    Amarin and the Officer Defendants individually or in concert, by the use of means

 or instrumentalities of interstate commerce and/or of the United States mail: (1) employed

 devices, schemes, and artifices to defraud; (2) made untrue statements of material fact and

 omitted material facts; (3) deceived the investing public, including Plaintiffs and Class members;

 (4) artificially inflated and maintained the market price of Amarin ADS’s; and (5) caused

 Plaintiffs and Class members to purchase Amarin shares at artificially inflated prices and suffer

 losses. Amarin and the Officer Defendants were primary participants in this wrongful and illegal

 conduct.

        197.    The Officer Defendants were top officers and controlling persons of Amarin and

 had direct involvement in its day-to-day operations. They were high level executives or directors

 at Amarin during the Class Period such that they managed or controlled the management of the

 company. Each of the Officer Defendants, by virtue of their responsibilities and activities as a

 senior officer or director, was involved in publication of Amarin’s documents attributed to them

 in Section V above. The Officer Defendants were involved in drafting, producing, reviewing, or

 disseminating the documents at issue in this action. Each Officer Defendant enjoyed significant

 personal contact and familiarity with the other Defendants and were advised of, and had access

 to, other members of the management team, internal reports, and other data and information at all

 relevant times. Each Officer Defendant was aware of the Company’s dissemination of

 information to the investing public which they knew or recklessly disregarded was materially

 misleading.

        198.    Amarin and the Officer Defendants knew, or were reckless in not knowing, of the

 material misrepresentations and omissions described in this Complaint or acted with reckless

 disregard for the truth in that they failed to ascertain and to disclose such facts, even though such




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 facts were readily available to them. The Officer Defendants’ material misrepresentations and

 omissions were done knowingly or recklessly and for the purpose and effect of concealing the

 REDUCE-IT trial’s full results and Amarin’s financial condition and results of operations,

 business practices, and future business prospects from the investing public and supporting the

 artificially inflated price of its ADS’s.

         199.    As a result of this dissemination of the materially misleading statements and

 omissions, the market price of Amarin shares was artificially inflated during the Class Period. In

 ignorance of the fact that market prices of Amarin shares were artificially inflated, and relying

 upon the integrity of the market in which the ADS’s trade, and in the absence of material adverse

 information that was known to or recklessly disregarded by Defendants, but not disclosed in

 public statements by Amarin and the Officer Defendants during the Class Period, Plaintiffs’ and

 the other members of the Class acquired Amarin ADS’s during the Class Period at artificially

 high prices and were damaged thereby.

         200.    At the time of the misrepresentations and omissions, Plaintiffs and other members

 of the proposed Class were ignorant of their falsity. Had Plaintiffs and the other members of the

 Class and the marketplace known that Amarin’s share prices were artificially inflated, Plaintiffs

 and other members of the proposed Class would not have purchased or otherwise acquired their

 Amarin ADS’s, or, if they had acquired such ADS’s during the Class Period, they would not

 have done so at the artificially inflated prices which they paid.

         201.    By virtue of the foregoing, Amarin and the Officer Defendants each violated

 Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

         202.    This claim was brought within two years after the discovery of the fraud and

 within five years of the making of the materially false and misleading statements alleged.




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        203.     As a direct and proximate result of Amarin and the Officer Defendants’ wrongful

 conduct, Plaintiffs and Class members suffered damages in connection with their transactions of

 Amarin ADS’s.

                                        SECOND COUNT
                          Violation of Section 20(a) of the Exchange Act
                                Against the Individual Defendants

        204.     Plaintiffs repeat and reallege the allegations set forth above.

        205.     This claim is asserted against the Individual Defendants on behalf of Plaintiffs

 and proposed Class members.

        206.     The Individual Defendants were and acted as controlling persons of Amarin

 within the meaning of Section 20(a). By virtue of their high-level positions with Amarin,

 participation in and awareness of Amarin’s operations, direct involvement in the day-to-day

 operations of Amarin, and intimate knowledge of Amarin’s actual performance, the Individual

 Defendants had the power to influence and control, and did influence and control, Amarin’s

 decision-making, including the content and dissemination of the statements that Plaintiffs

 contend are false and misleading as set forth in Section V above. The Individual Defendants had

 direct and supervisory involvement in the day-to-day operations of Amarin and, therefore, are

 presumed to have had the power to control or influence the particular transactions giving rise to

 the securities violations as alleged herein, and exercised the same, and thus were culpable

 participants in Amarin and the Officer Defendants’ fraud.

        207.     As set forth above, Amarin and the Officer Defendants each violated Section

 10(b) and Rule 10b-5 by their acts and omissions detailed above. By virtue of their positions as

 controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

 Exchange Act.




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        208.   As a direct and proximate result of Individual Defendants’ wrongful conduct,

 Plaintiffs and proposed Class members suffered damages in connection with their acquisition of

 Amarin ADS’s during the Class Period.

 XIII. PRAYER FOR RELIEF

        209.   Plaintiffs, on their own behalf and on behalf of the Class, pray for judgment as

 follows:

        a.     Declaring this action to be a class action pursuant to Federal Rule of Civil

               Procedure 23(a) and (b)(3);

        b.     Awarding Plaintiffs and the other members of the Class damages in an amount

               which may be proven at trial, together with interest thereon;

        c.     Awarding Plaintiffs and members of the Class pre-judgment and post-judgment

               interest, as well as their reasonable attorneys’ and expert witness’ fees and other

               costs;

        d.     Awarding Plaintiffs and the members of the Class rescission and/or rescissory

               damages; and

        e.     Such other relief as this Court deems appropriate.

 XIV. JURY TRIAL DEMAND

        Plaintiffs hereby demand a trial by jury.

 Dated: July 22, 2019

 Respectfully Submitted,

  By: _/s/ Sherief Morsy                             By: /s/ Bruce D. Greenberg
  Sherief Morsy                                      Bruce D. Greenberg
  Richard W. Gonnello (appearing pro hac vice)       LITE DEPALMA GREENBERG, LLC
  Megan M. Sullivan (appearing pro hac vice)         570 Broad Street, Suite 1201
  FARUQI & FARUQI, LLP                               Newark, NJ 07102
  685 Third Avenue, 26th Floor                       Telephone: (973) 623-3000
  New York, NY 10017                                 Facsimile: (973) 623-0858


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  Telephone: (212) 983-9330                       Email: bgreenberg@litedepalma.com
  Facsimile: (212) 983-9331
  Email: rgonnello@faruqilaw.com                  Plaintiffs’ Counsel
  msullivan@faruqilaw.com
  smorsy@faruqilaw.com

  Co-Lead Counsel


  Eric H. Gibbs (appearing pro hac vice)
  David Stein (appearing pro hac vice)
  John A. Kehoe (pro hac vice forthcoming)
  GIBBS LAW GROUP LLP
  505 14th Street, Suite 1110
  Oakland, CA 94612-1406
  Telephone: (510) 350-9700
  Facsimile: (510) 350-9701
  Email: ehg@classlawgroup.com
  ds@classlawgroup.com
  jak@classlawgroup.com

  Co-Lead Counsel




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 22, 2019, I caused true and correct copies of the

 foregoing to be served on all counsel of record via CM/ECF.



 Dated: July 22, 2019                               By: /s/ Sherief Morsy
                                                      Sherief Morsy (#125042015)




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